                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION


                                           :
JOSHUA GLASSCOCK, individually and on      :
behalf of all others similarly situated,   :
                                           :
                    Plaintiff,             : Case No.: 6:22-cv-3095-MDH
                                           :
             v.                            :
                                           : ORAL ARGUMENT REQUESTED
SIG SAUER, INC.,                           :
                                           :
                    Defendant.             :
                                           :



     DEFENDANT SIG SAUER, INC.’S SUGGESTIONS IN SUPPORT OF ITS
     OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION




                                       i
    Case 6:22-cv-03095-MDH       Document 154   Filed 03/31/25   Page 1 of 54
                                                 TABLE OF CONTENTS
                                                                                                                                     Page
PRELIMINARY STATEMENT ................................................................................................. 1
STATEMENT OF FACTS ........................................................................................................... 2
         A.        Sig Sauer and its Market-Leading P320..............................................................2
                   1.     The Design and Development of the P320 .................................................. 2
                   2.     The P320 is a Modular Pistol That Has Passed All Safety Testing............ .3
                   3.     The P320's Trigger Pull, Energized Nature, and Safety Features.............. .4
                   4.     Sig Sauer' s Volunta1y Upgrade Program, Which Preceded the Putative
                          Class Period, Related to Drop Safety, Not Inadvertent Discharges....... .... ..5
                   5.     The U.S. Almy Selects the P320 Platfo1m as the Modular Handgun
                          System .......................................................................................................... 6
                   6.     Risk oflnadve1tent Dischai·ges Is Present with All Fireaims ...................... 7
                   7.     Consumers Consider Many Individualized Factors When Deciding
                          Which Fireaim to Pm·chase .......................................................................... 8
                   8.     Most Consumers Did Not Want a Manual Safety, Which Was Available . .9
                          i. Customers PrefetTed No Manual Safety. .............................................. 9
                          ii. Sig Sauer Always Offered a Manual Safety Model.. .......................... 11
         B.        Sig Sauer Marketed the P320 with Varied Advertising in Varied
                   Channels................................................................................................................ 11
                   1.     Any Consumer Exposed to Sig Sauer' s Website Could Have Seen Different
                          Content. ...................................................................................................... 11
                   2.     No Evidence Has Been Offered to Show Which Consumers Saw
                          What Advertising at What Time................................................................ 12
                   3.     Sig Sauer Disclosed That Consumers Could Purchase a P320 with a
                          Manual Safety, that the P320 Had a Crisp Trigger and that the Ml 7 was
                          the Model P320 That Was Compai·able to the Milita1y Version . .............. 13
                   4.     The Owner's Manual Is Not Advertising, The Content Varied
                          Throughout the Class Period, And Is Not Viewed by Many Consumers. .14
         C.        Plaintiff Has Not Identified the Putative Class or Their Purchases................ 15
                   1.
                                                                                            ............................................... 15
                   2.                                                                                    . ................................. 16
                   3.     Mr. Stockton' s Proposed Damages Model Does Not Account for
                          These-Deficiencies..................................................................................... 17
         D.        The Named Plaintiff, Mr. Glasscock, Exemplifies Why a Class Cannot
                   Be Certified Here................................................................................................. 18
                   1.     Plaintiff Is a Law Enforcement Officer That Grew Up with Fireaims and
                          Bought Fireaims Before Without a Manual Safety. .................................. 18
                   2.     Plaintiff Sued Sig Sauer After His Attorneys Told Him His P320 Was
                          Defective.................................................................................................... 18
                   3.     Plaintiff Pm·chased the P320 "Used" from a Friend and Knew It Did Not
                          Have a Manual Safety................................................................................ 19




       Case 6:22-cv-03095-MDH                        Document 154                  Filed 03/31/25              Page 2 of 54
                     4.
                  Plaintiff Repeatedly Testified That He Was Not Exposed to Sig Sauer
                  Adve1i ising Prior to Purchase and Never Mentioned That He Wanted to Be
                  Info1med About the Pistol's Trigger Pull or Highly Energized Nature..... 21
            5.    Plaintiff Would Not Have Purchased His P320 For Less and Does Not
                  Believe Adding a Manual Safety Repairs His P320................................ 22
           6.     Plaintiff Has Not Performed His Duties as a Class Representative ...........23
    E.     Public Knowledge of Discharge Incidents Varied Significantly and Sig
           Sauer Was Not Aware of the Claimed Defect Until Plaintiff Filed His
           Motion...................................................................................................................23
            1.    Ve1y Few P320 Discharge Incidents Were Reported to Sig Sauer.. .......... 23
           2.     The Press and Litigation About the P320 Did Not Info1m Sig Sauer of
                  the Plaintiffs Claimed 3-Prui Defect. ........................................................ 24
           3.     The FMECA Anal sis
                                                               ..................................................................... 26
LEGAL STAl'1"DARD ................................................................................................................. 26
ARGUMENT ............................................................................................................................... 27
I.   PLAINTIFF LACKS ARTICLE III STANDING ........................................................27
     A.   Plaintiff Does Not Have an Injury-in-Fact........................................................27
          1.       Plaintiff Does Not Have a Manifest Defect. .............................................. 27
          2.       Plaintiff Knew He Was Purchasing a P320 Without a Manual Safety ...... 27
          3.       Plaintiff Received the Benefit of His Bru·gain........................................... 28
     B.   Plaintiff's Purported Injury Is Not Fairly Traceable to Sig Sauer.................28
     C.   Plaintiff Cannot Pursue Injunctive Relief or a Class After April 2022 ..........29
II.  PLAINTIFF IS ATYPICAL Al'1"D INADEQUATE......................................................30
     A.   Plaintiff Is Subject to a Multitude of Unique Defenses....................................30
     B.   Plaintiff Has Not Suffered the Same Injury as the Putative Class..................32
     C.   Plaintiff Fails to Demonstrate He Is Adequate for Additional Reasons .........32
Ill. THE PROPOSED CLASS CANNOT BE CERTIFIED UNDER RULE 23(b)(3).....34
     A.   Standing Is an Individualized Issue. ..................................................................35
     B.   Individual Issues Predominate Nearly Every MMPA Element.......................35
          1.       Deceptive Omission Is an Individualized Issue ......................................... 35
          2.       Sig Sauer' s Knowledge Is an Individualized Issue.................................... 36
          3.       Materiality Presents Individual Issues ....................................................... 38
          4.       Causation Presents Individual Issues......................................................... 39
          5.       Asce1iainable Loss Presents Individual Issues. ........................................ .41
          6.       The MMPA's Usage Requirement Requires Individual Proof. ................ .42
     C.   Plaintiff Fails to Present a Viable Damages Model...........................................42
IV.  THE PROPOSED CLASS IS NOT ASCERTAINABLE NOR SUPERIOR.............43
V.   THE PROPOSED CLASS CANNOT BE CERTIFIED UNDER RULE 23(c)(4) .... .44
CONCLUSION ........................................................................................................................... 44




                                                                    11
        Case 6:22-cv-03095-MDH                        Document 154                 Filed 03/31/25             Page 3 of 54
                                              TABLE OF AUTHORITIES

                                                                                                                             Page(s)

Cases

Abbott v. Golden Grain Co.,
677 F. Supp. 3d 940 (E.D. Mo. 2023)............................................................................1, 35, 37, 42

Agred Found. v. U.S. Army Corps. of Eng’rs,
   3 F.4th 1069 (8th Cir. 2021) ....................................................................................................28

Anderson v. Ford Motor Co.,
   2020 WL 1853321 (W.D. Mo. Feb. 14, 2020) ........................................................................38

Avritt v. Reliastar Life Ins. Co.,
   615 F.3d 1023 (8th Cir. 2010) .................................................................................................35

Bennett v. Nucor Corp.,
   656 F.3d 802 (8th Cir. 2011) ...................................................................................................26

Bernbeck v. Gale,
   829 F.3d 643 (8th Cir. 2016) ...................................................................................................27

In re Bisphenol-A (BPA) Polycarbonate Plastic Prods. Liab. Litig.,
    2011 WL 6740338 (W.D. Mo. Dec. 22, 2011) ................................................................ passim

Blades v. Monsanto Co.,
   400 F.3d 562 (8th Cir. 2005) ...................................................................................................41

Bodner v. Oreck Direct, LLC,
   2007 WL 1223777 (N.D. Cal. Apr. 25, 2007) .........................................................................32

Boren v. Henkel,
   2024 WL 2768669 (E.D. Mo. May 30, 2024) .........................................................................35

Bradley v. Hertz Corp.,
   2019 WL 3975177 (S.D. Ill. Aug. 22, 2019) ...........................................................................40

Brown v. Medtronic, Inc.,
   628 F.3d 451 (8th Cir. 2010) ...................................................................................................28

State ex rel Coca-Cola Co. v. Nixon,
    249 S.W.3d 855 (Mo. 2008) (en banc) ........................................................................35, 40, 42

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) .............................................................................................................26, 42




                                                           iii
        Case 6:22-cv-03095-MDH                       Document 154                Filed 03/31/25            Page 4 of 54
Diesel v. Mariani Packing Co.,
   2024 WL 1674520 (E.D. Mo. Apr. 18, 2024)..............................................................39, 41, 42

Diesel v. Mariani Packing Co.,
   2024 WL 4263944 (E.D. Mo. Sept. 23, 2024).........................................................................42

Dumas v. Albers Med., Inc.,
  2005 WL 2172030 (W.D. Mo. Sept. 7, 2005) .........................................................................43

Ebert v. Gen. Mills, Inc.,
   823 F.3d 472 (8th Cir. 2016) ...................................................................................................34

Elfaridi v. Mercedes-Benz USA, LLC,
    2018 WL 4071155 (E.D. Mo. Aug. 27, 2018) .........................................................................31

In re Emerson Elec. Co. Wet/Dry Vac Mktg. & Sales Litig.,
    2022 WL 670131 (E.D. Mo. Mar. 7, 2022) .......................................................................35, 42

Faltermeier v. FCA US LLC,
   899 F.3d 617 (8th Cir. 2018) ...................................................................................................39

Ford Motor Co. v. Sheldon,
   113 S.W.3d 839 (Tex. Ct. App. 2003) .....................................................................................36

In re Ford Motor Co. Vehicle Paint Litig.,
    182 F.R.D. 214 (E.D. La. 1998)...............................................................................................36

Frankenberry v. Sig Sauer,
   No. 19-cv-2990 (D.S.C. Feb. 4, 2022), ECF No. 79................................................................25

Garrard v. Rust-Oleum Corp.,
   575 F. Supp. 3d 995 (N.D. Ill. 2021) .......................................................................................31

In re GenesisIntermedia, Inc. Sec. Litig.,
    232 F.R.D. 321 (D. Minn. 2005)..............................................................................................30

George v. Omega Flex, Inc.,
   2020 WL 4718386 (W.D. Mo. Aug. 13, 2020) (Harpool, J.) ..................................................40

Guerrero v. Henkel Corp.,
   2024 WL 2769745 (E.D. Mo. May 30, 2024) .........................................................................35

Halliburton Co. v. Erica P. John Fund, Inc.,
   573 U.S. 258 (2014) ...................................................................................................................1

Halvorson v. Auto-Owners Ins. Co.,
   718 F.3d 773 (8th Cir. 2013) ...................................................................................................35




                                                            iv
        Case 6:22-cv-03095-MDH                        Document 154                Filed 03/31/25              Page 5 of 54
In re Hardieplank Fiber Cement Siding Litig.,
    2018 WL 262826 (D. Minn. Jan. 2, 2018) ...............................................................................30

Hays v. Nissan North America, Inc.,
   2021 WL 912262 (W.D. Mo. Mar. 8, 2021) ............................................................................37

Henke v. Arco Midcon, LLC,
   2014 WL 982777 (E.D. Mo. Mar. 12, 2014) ...............................................................30, 34, 44

Hennessey v. Gap, Inc.,
   86 F.4th 823 (8th Cir. 2023) ....................................................................................................31

Huskey v. Birch Telecom of Mo., Inc.,
   2018 WL 4679738 (E.D. Mo. Sept. 28, 2018).........................................................................30

Indigo LR LLC v. Advanced Ins. Brokerage of Am. Inc.,
    717 F.3d 630 (8th Cir. 2013) ...................................................................................................27

J.P. v. BCBSM, Inc.,
    2021 WL 131234 (D. Minn. Jan. 14, 2021) .............................................................................30

Johannessohn v. Polaris Indus., Inc.,
   9 F.4th 981 (8th Cir. 2021) ..........................................................................................27, 34, 44

Kassover v. Comput. Depot, Inc.,
   691 F. Supp. 1205 (D. Minn. 1987), aff’d, 902 F.2d 1571 (8th Cir. 1990) .............................33

Keister v. Allstate Fire & Cas. Ins. Co.,
   663 F. Supp. 3d 1030 (W.D. Mo. 2023) ..................................................................................32

Klosterman v. Vacation Mgmt. Sols., LLC,
   682 S.W.3d 781 (Mo. App. E.D. 2023) ...................................................................................36

Luiken v. Domino’s Pizza, LLC,
   705 F.3d 370 (8th Cir. 2013) ...................................................................................................38

Lupo v. Shelter Mutual Ins. Co.,
   70 S.W.3d 16 (Mo. App. E.D. 2002) .......................................................................................43

May v. Makita,
  2023 WL 417487 (E.D. Mo. Jan. 26, 2023) ............................................................................29

McCall v. Monro Muffler Brake,
  2013 WL 1282306 (E.D. Mo. Mar. 27, 2013) .........................................................................40

McKeage v. TMBC, LLC,
  847 F.3d 992 (8th Cir. 2017) ...................................................................................................43




                                                          v
        Case 6:22-cv-03095-MDH                      Document 154               Filed 03/31/25             Page 6 of 54
Meagley v. City of Little Rock,
  639 F.3d 384 (8th Cir. 2011) ...................................................................................................29

In re Milk Prods. Antitr. Litig.,
    195 F.3d 430 (8th Cir. 1999) ...................................................................................................30

Nafar v. Hollywood Tanning Sys.,
   339 F. App’x 216 (3d Cir. 2009) .............................................................................................34

In re NHL Players’ Concussion Inj. Litig.,
    327 F.R.D. 245 (D. Minn. 2018)..............................................................................................44

In re Pre-Filled Propane Tank Antitr. Litig.,
    2021 WL 5632089 (W.D. Mo. Nov. 9, 2021)..........................................................................26

Price v. United Servs. Auto. Ass’n,
    2012 WL 2847821 (W.D. Ark. Mar. 16, 2012), R. & R. adopted, 2012 WL
    2847916 (W.D. Ark. July 11, 2012) ........................................................................................32

Pruitt v. Pers. Staffing Grp.,
   2020 WL 3050330 (N.D. Ill. June 8, 2020) .............................................................................33

Rattray v. Woodbury Cnty., Iowa,
   614 F.3d 831 (8th Cir. 2010) ...................................................................................................30

Riddell v. Gen. Motors LLC,
   2024 WL 2077559 (E.D. Mo. May 9, 2024) ...........................................................................31

Sandusky Wellness Ctr. v. Medtox Sci., Inc.,
   821 F.3d 992 (8th Cir. 2016) ..................................................................................................43

Sanneman v. Chrysler Corp.,
   191 F.R.D. 441 (E.D. Pa. 2000) ...............................................................................................36

Sgouros v. TransUnion Corp.,
   2023 WL 6690474 (N.D. Ill. Oct. 12, 2023)......................................................................29, 33

In re Smitty’s/Cam2 Mktg., Sales Pracs. & Prods. Liab. Litig.,
    2022 WL 710192 (W.D. Mo. Mar. 9, 2022) ............................................................................29

In re St. Jude Medical, Inc.,
    522 F.3d 836 (8th Cir. 2008) ...................................................................................................39

St. Louis Heart Center, Inc. v. Vein Centers for Excellence, Inc.,
    2017 WL 2861878 (E.D. Mo. July 5, 2017) ............................................................................43

Stanford v. Samsung Elecs. Am., Inc.,
   2024 WL 4556518 (W.D. Mo. Aug. 20, 2024)..........................................................................2



                                                          vi
        Case 6:22-cv-03095-MDH                      Document 154               Filed 03/31/25             Page 7 of 54
Stotz v. Mophie Inc.,
    2017 WL 11571083 (C.D. Cal. Dec. 14, 2017) .......................................................................28

Strutton v. Blake,
    2005 WL 8176850 (E.D. Mo. Sept. 29, 2005).........................................................................32

Tate v. Weyerhaeuser Co.,
   723 F.2d 598 (8th Cir. 1983) ...................................................................................................30

TBK Partners v. Chomeau,
  104 F.R.D. 127 (E.D. Mo. 1985) .............................................................................................33

Thornburg v. Ford Motor Co.,
   2022 WL 4348475 (W.D. Mo. Sept. 19, 2022) .......................................................................34

Townsend v. Monster Beverage Corp.,
   303 F. Supp. 3d 1010 (C.D. Cal. 2018) ...................................................................................38

In re Tropicana Orange Juice Market. & Sales Practices Litig.,
    2019 WL 2521958 (D.N.J. June 18, 2019) ..............................................................................38

Tuft v. McDonnell Douglas Corp.,
    581 F.2d 1304 (8th Cir. 1978) .................................................................................................27

Vervaecke v. Chiles, Heider & Co.,
   578 F.2d 713 (8th Cir. 1978) ...................................................................................................30

Wal-Mart Stores, Inc. v. Dukes,
   564 U.S. 338 (2011) ...........................................................................................................26, 31

Wallace v. ConAgra Foods, Inc.,
   747 F.3d 1025 (8th Cir. 2014) .................................................................................................27

White v. Just Born, Inc.,
   2018 WL 3748405 (W.D. Mo. Aug. 7, 2018).................................................................. passim

In re Zurn Pex Plumbing Prods. Liab. Litig.,
    644 F.3d 604 (8th Cir. 2011) ...................................................................................................42

Other Authorities

Fed. R. Civ. P 23 .................................................................................................................... passim

Fed. R. Evid. 702 ...........................................................................................................................42




                                                              vii
        Case 6:22-cv-03095-MDH                          Document 154                 Filed 03/31/25              Page 8 of 54
                                TABLE OF EXHIBITS

 EXHIBIT                                         DESCRIPTION
Exhibit 1    Declaration of Colleen M. Gulliver dated March 31 2025
Exhibit 2    Declaration of Thomas Taylor dated Febmruy 17, 2025 (and Exhibits A - 0 attached)
Exhibit 3    Declru·ation of Matthew Taylor dated March 17, 2025
Exhibit 4    30(b)(6) Deposition of Matthew Taylor (September 10, 2024)
Exhibit 5    Declru·ation of Sean Toner dated Febrnaiy 27, 2025 (and Exhibit 1 attached)
Exhibit 6    30(b)(6) Deposition of Matthew Farkas (September 23, 2024)
Exhibit 7    Rep01i of Derek Watkins dated March 31 , 2025
Exhibit 8    SIG-MARKETING-000213 (Sig Sauer Brochure for P320 Full-Size Model)
Exhibit 9    Declru·ation of Phil Strader dated Mru·ch 25, 2025
Exhibit 10   SIG-MARKETING-000102 (Sig Sauer 2017 Fireaims Products Catalog)
Exhibit 11   Deposition of Plaintiff Joshua Glasscock (May 16, 2023) ("Glasscock Vol. I")
Exhibit 12   Cont. Deposition of Plaintiff Joshua Glasscock (March 6, 2025) ("Glasscock Vol. II")
Exhibit 13   Rep01i ofRobeli Rauschenberger, Ph. D, dated March 27, 2025
Exhibit 14   SIG-GLASSCOCK00007700 (Tom Taylor email dated August 9, 2017)
Exhibit 15   Deposition of James Faulkner (March 15, 2024) ("Faulkner Vol. I")
Exhibit 16   Declru·ation of Ed Murohv dated Febmaiy 10, 2025
Exhibit 17   Declaration of Christoper Meyer dated Febrnaiy 4, 2025 (and Exhibit 1 attached)
Exhibit 18   Declaration of Matthew Fai·kas dated Febmaiy 4, 2025
Exhibit 19   IMG 3203 (Text messages dated March 29, 2020 from James Faulkner to Plaintiff)
Exhibit 20   Glasscock, Joshua 000016 (Text messages dated Mai·ch 29, 2020 from Plaintiff to
             James Faulkner)
Exhibit 21   Glasscock's Intenogatory Responses, Set 1 (Januaiy 23, 2023)
Exhibit 22   Exhibit 14 to Glasscock Vol. II (Sig Sauer Press Release M17) (SIG-
             GLASSCOCK00006703)
Exhibit 23   Exhibit 15 to Glasscock Vol. II (Sig Sauer 2018 Firearm Products Catalog) (SIG-
             MARKETING0000107)
Exhibit 24   SIG-MARKETING-000096 (Sig Sauer Adveliisement Disclosing Manual Safety)
Exhibit 25   Exhibit 6 to Glasscock Vol. II (P320 Ad) (SIG-MARKETING-000051)
Exhibit 26   Rep01i of Jonathan Tomlin, Ph.D., dated Mai·ch 30, 2025
Exhibit 27   Exhibit 11 to Glasscock Vol. II (Email from Plaintiff to Todd We1is dated March 9,
             2022) (Glasscock, Joshua 000027)
Exhibit 28   Cont. Deposition of James Faulkner (May 28, 2024) ("Faulkner Vol. II")
Exhibit 29   Exhibit 9 to Faulkner Vol. II (Fireaim Transaction Record)
Exhibit 30   30(b)(6) Deposition of Christopher Mever (September 11, 2024)
Exhibit 31   30(b)(6) Deposition of Thomas Taylor (September 12, 2024)
Exhibit 32   Exhibit 9 to Glasscock Vol. II (Owner's Manual) (Glasscock, Joshua 000041 -89)




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    Case 6:22-cv-03095-MDH        Document 154        Filed 03/31/25     Page 9 of 54
                                    PRELIMINARY STATEMENT

        Plaintiff Joshua Glasscock’s (“Plaintiff”) Motion for Class Certification (“Motion” or

“Mot.”) comes nowhere close to demonstrating Rule 23’s requirements by a preponderance of the

evidence. “[P]laintiffs … must actually prove—not simply plead—… each requirement of Rule

23[.]” Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 275 (2014). Plaintiff has not

done so here. Plaintiff is but an afterthought in his own Motion, which addresses his typicality and

adequacy in five sentences of a 46-page brief and virtually without any evidentiary support. This

decision may have been strategic – an attempt to minimize the unique circumstances of Plaintiff:

who purchased his P320 used from his friend at his home for a discount, who knew his P320 lacked

a manual safety, and who cannot show he was exposed to Sig Sauer advertising prior to purchase.

Plaintiff is both atypical and inadequate because he lacks standing, is plagued by a multitude of

unique defenses, does not have the same injury as the class, has abdicated his responsibility as a

class representative and suffers from credibility issues.

        Plaintiff also cannot meet Rule 23(b)(3)’s requirement as he failed to offer common

evidence for Article III standing, numerous elements of his MMPA claim, and ascertainability and

superiority. Post-amendment,1 the MMPA requires Plaintiff to show he: (1) “purchased

merchandise”; (2) “for personal, family or household purposes”; and (3) “suffered an ascertainable

loss of money” (4) “as a result of an act declared unlawful []”; (5) “acted as a reasonable consumer

would in light of all circumstances”; (6) “the [unlawful act] would cause a reasonable person to

enter into the transaction”; and (7) he suffered “[i]ndividual damages with sufficiently definitive

and objective evidence to allow the loss to be calculated with a reasonable degree of certainty.”

Abbott, 677 F. Supp. 3d at 945-46. Moreover, “a claim for omission,” such is the case here,


1
 In Abbott v. Golden Grain Co., the court discussed the “stringent” and “substantial amendments to the MMPA” that
“call into question the applicability of [pre-amendment] cases.” 677 F. Supp. 3d 940, 946-47 (E.D. Mo. 2023).


                                                  1
      Case 6:22-cv-03095-MDH               Document 154           Filed 03/31/25        Page 10 of 54
requires Plaintiff to show that Sig Sauer “failed to disclose [8] material facts that were [9] ‘known

to [it].” Stanford v. Samsung Elecs. Am., Inc., 2024 WL 4556518, at *6 (W.D. Mo. Aug. 20, 2024).

         Plaintiff’s Motion fails to provide classwide evidence for virtually any element, including

deception, materiality, knowledge, causality, ascertainable loss (individual or a viable classwide

model), and the usage element. Resolution requires numerous individualized inquiries destroying

predominance as customers did not have to interact with Sig Sauer to purchase a P320, Sig Sauer

advertising varied and disclosed much of Plaintiff’s sought information, and Plaintiff does not

provide evidence to identify the class, when they purchased (and thus what Sig Sauer knew about

the defect beforehand) from where, or how much they paid. Thus, the Motion should be denied.

                                         STATEMENT OF FACTS

    A. Sig Sauer and its Market-Leading P320.

         1. The Design and Development of the P320.

         Sig Sauer is

Ex. 2, T. Taylor Decl. ¶ 4, Feb. 17, 2025.2

                                    Id. ¶¶ 5, 63; Ex. 3, M. Taylor Decl. ¶ 5, March 17, 2025.




-     ” Ex. 3, M. Taylor Decl. ¶ 13.




                  ” which can include


--      .” Id. ¶¶ 14-15; Ex. 4, M. Taylor, 71:4-8, 141:20-142:2. This can also include the

              ,” as certain customers have their own “
                                                                                                            -
2
  Sig Sauer’s exhibits, deposition testimony, and declarations in opposition to Plaintiff’s Class Certification Motion
are listed in Exhibit 1, the Declaration of Colleen M. Gulliver, and referenced herein as “Ex.”


                                                    2
      Case 6:22-cv-03095-MDH                 Document 154            Filed 03/31/25         Page 11 of 54
                   Ex. 3, M. Taylor Decl. ¶ 16.

                                                                          . Ex. 5, Toner Decl. ¶ 11, Feb.

27, 2025; Ex. 4, M. Taylor, 71:9-11.

                                                                                                         .”

Ex. 3, M. Taylor Decl. ¶ 17.                                     . Ex. 5, Toner Decl. ¶ 11.

        While Sig Sauer

                                                                                              (Mot. ¶ 19).

Ex. 3, M. Taylor Decl. ¶¶ 18-19.                                                                        id.

¶ 19, and Plaintiff claims the P320’s alleged defect lies in its FCU, not its grip module. Mot. ¶ 34.

        2. The P320 is a Modular Pistol That Has Passed All Safety Testing.

        Sig Sauer wanted to

                                                          .” See Pl.’s Ex. 6, P320Design00001; see also

Ex. 4, M. Taylor, 132:22-133:12; Ex. 6, Farkas 37:5-8. Sig Sauer did so because




                             Ex. 2, T. Taylor Decl. ¶ 35.3

                                          Ex. 3, M. Taylor Decl. ¶ 9; see also Ex. 7, Report of Derek

Watkins dated March 31, 2025 (“Watkins”) at 66 (Plaintiff’s P320 “

                                                         ). Plaintiff

                                              Id.; see also id. at 4-7.



                               Ex. 2, T. Taylor Decl. ¶ 44.


3
                                                                                                 . Ex. 2, T.
Taylor Decl. ¶¶ 36, 39-40.


                                                  3
      Case 6:22-cv-03095-MDH               Document 154         Filed 03/31/25      Page 12 of 54
                                              id. ¶ 32,

                              See, e.g., Ex. 8, SIG-MARKETING-000213 at SIG-MARKETING-

000214; Pl.’s Ex. 12. Between September 1, 2017 - April 18, 2022 (the “Putative Class Period”),

Sig Sauer offered “                                   .” Ex. 9, Strader Decl. ¶ 4, March 25, 2025; see

Ex. 10, SIG-MARKETING-000102.

       3. The P320’s Trigger Pull, Energized Nature, and Safety Features.

       Plaintiff originally testified that his P320 was defective because “it’s capable of going off

without the trigger being pulled.” Ex. 11, Glasscock Vol. I, 73:3-8 (emphasis added). Plaintiff

now claims that the P320 is defective because “(1) the P320 is effectively fully energized and

ready to fire the instant that a round is chambered; (2) the P320 has a minimal trigger pull because

it is short and lightweight; and (3) the P320 lacks any external safety features” (the “3-Part

Defect”). Mot. ¶ 24; Ex. 12, Glasscock Vol. II, 37:2-6.

       Plaintiff’s current 3-Part Defect theory simply repackages the P320’s advertised features

(some or all of which are shared by competitor models) as a defect.

                                                      . Ex. 7, Watkins at 63.



                              ” Id. at 4-5.




--         See id. at 35 (“

          ”); see also Ex. 13, Report of Robert Rauschenberger dated March 27, 2025

(“Rauschenberger”) ¶ 55




                                               4
     Case 6:22-cv-03095-MDH             Document 154         Filed 03/31/25     Page 13 of 54
                                                                                         ") _4 _

                          of the P320'

                                             ." Ex. 7, Watkins at 5.



                                                            . Id. at 15-16.

       4. Sig Sauer's Voluntary Upgrade Program, Which Preceded the Putative Class
          Period, Related to Drop Safety, Not Inadvertent Discharges.

                                                                               ." Ex. 7, Watkins at



                                             meaning that

                                                " Ex. 3, M. Taylor Deel. ,i 8. These effects ■



Ex. 7, Watkins at 31. 5

       Around Febrnaiy 2017, before the Putative Class Period, Sig Sauer became aware that       I
                                                                                See Ex. 14, SIG-

GLASSCOCK00007700 at SIG-GLASSCOCK00007702.

                           , all of which the P320 has always passed. Ex. 3, M. Taylor Deel. ,i 9.

Consequently, Sig Sauer began offering a Voluntaiy Upgrade Program ("VUP") to further enhance

drop safety by '                                         ." See Ex. 3, M. Taylor Deel. ,i 8; Ex. 4,

M. Taylor, 165:20-22; 167:24-168:2. All P320 pistols manufactured after August 8, 2017 included




                                                5
     Case 6:22-cv-03095-MDH              Document 154       Filed 03/31/25    Page 14 of 54
the VUP features, including Plaintiff’s P320 (which he purchased on March 30, 2020 (see Ex. 15,

Faulkner Vol. I, 49:23-25)). See Declaration of James Lano, ECF No. 105-2 ¶¶ 7-8.

           5. The U.S. Army Selects the P320 Platform as the Modular Handgun System.

           The U.S. Army awarded Sig Sauer the Modular Handgun System (“MHS”) contract in

January 2017 (“MHS Contract”). Ex. 2, T. Taylor Decl. ¶ 47; T. Taylor Decl. Ex. E (Sig Sauer’s

press release displayed “a picture of the [coyote-tan colored] military version of the [P320, i.e.,

the] XM17 featuring a manual safety”). The U.S. Army selected Sig Sauer’s XM17 and XM186—

the military variants of the P320 (the “MHS Contract Pistols”). Ex. 2, T. Taylor Decl. ¶ 41; Ex. 4,

M. Taylor, 18:15-24. The

                                                        .” Ex. 16, Murphy Decl., ¶ 7 n.1, Feb. 10, 2025 (citing

Pl.’s Ex. 15 at § 3.4.4.(d)); Ex. 4, M. Taylor, 234:20-21.

           As there is often “significant civilian interest” in a military firearm, see Ex. 2, T. Taylor

Decl. Ex. I; see, e.g., Ex. 12, Glasscock Vol. II, 13:6-19, Sig Sauer later developed

                                                     Ex. 2, T. Taylor Decl. ¶¶ 50-51. On July 18, 2018, Sig

Sauer announced that it would be offering the “commercial variant of the U.S. Army’s [X]M17 …

called the P320-M17,” which “features a coyote-tan PVD coated stainless steel slide with the same

optic cut as specified by the MHS [C]ontract, and ... comes standard with a manual safety.” Ex. 2,

T. Taylor Decl. Ex. H at SIG-GLASSCOCK00006703; see also Ex. 12, Glasscock Vol. II, 114:15-

119:4. Sig Sauer made clear in advertising that the P320-M17 was “[b]ased on the M17 firearm

selected by the U.S. ARMY.” See Pl.’s Ex. 12 at SIG-GLASSCOCK00001742.

           The P320-M17s came standard with a manual safety but later versions of the P320-M17

became available without it. Ex. 2, T. Taylor Decl. Ex. H at SIG-GLASSCOCK00006703. On



6
    The M18 is the “compact version of the M17” and identical in all other respects. Ex. 2, T. Taylor Decl. Ex. I at 1.


                                                       6
        Case 6:22-cv-03095-MDH                  Document 154            Filed 03/31/25         Page 15 of 54
December 3, 2019, Sig Sauer made available the commercial variant to the XM18, the P320-M18.

See Ex. 2, T. Taylor Decl. Ex. I at 1; T. Taylor Decl. ¶ 51. Sig Sauer’s press release once again

announced the “M18 is ... configured nearly identically to the military’s model. It features ... a …

coyote-tan grip module, and an ambidextrous manual safety.” Ex. 2, T. Taylor Decl. Ex. I at 1.

       6. Risk of Inadvertent Discharges Is Present with All Firearms.



                                                        .” Ex. 7, Watkins at 21.

                                                               ” Id. at 18. There are also several types

of passive safeties for firearms (requiring no                          ” act by the user) and manual

safeties (which require a user to “                            it). Id. at 17-18. The P320’s



                                                                             . Id. at 17, 18.
                                                                                                -
                                                              Ex. 3, M. Taylor Decl. ¶ 10; Ex. 4, M.

Taylor, 48:8-12, 236:11-14; see also Ex. 7, Watkins at 41

                                             Ex. 3, M. Taylor Decl. ¶ 10



see also Ex. 13, Rauschenberger, ¶ 55

                                       id. ¶ 56

                                                  ”).

       Real world evidence has repeatedly confirmed that manual safeties do not prevent

inadvertent discharges. For example,




                                              7
     Case 6:22-cv-03095-MDH            Document 154           Filed 03/31/25       Page 16 of 54
                                Ex. 7, Watkins at 40-41 ,

                                                                                        Id. at 41. ■




                        Ex. 13, Rauschenberger, ,r 23. 8

       7. Consumers Consider Many Individualized Factors When Deciding Which
          Firearm to Purchase.



                                                                                                  Id. at ,r

46.

                                                                                                 Id.,r5l.




                                                Id. ,r,r 51, 53.

       The P320 is no different. The P320 comes in

                               "Id. ,r 46. The P320 also allows customers to choose different grip

fits and sizes. See Ex. 10 [SIG-MARK.ETING-000102-104]. Plaintiff, for example, testified that

he "decide(d] to move from a Glock 23 to a P320" because ''the P320 was a 9-millimeter" and the

Glock's ammunition was "more expensive." Ex. 11 , Glasscock Vol. I, 34:9-17. More generally,

Plaintiff explained that the features he looks for when purchasing a pistol are "reliability," "other

reputable sources that have ... endorsed the weapon," and "its perfo1mance." Ex. 12, Glasscock



                                                                                         , see Ex. 13,

                                                                           Ex. 7, Watkins, 44.


                                              8
      Case 6:22-cv-03095-MDH           Document 154          Filed 03/31/25    Page 17 of 54
Vol. II, 13:6-19, 14:5-6. Plaintiff was drawn to the P320 because it was “good enough for [the

military].” Ex. 11, Glasscock Vol. I, 53:4-7. Plaintiff’s seller, James Faulkner (“Mr. Faulkner”),

in contrast, decided to purchase after he “saw the firearm was highlighted in a gun magazine,” he

read the “specifications,” and “had it in [his] hands.” Ex. 15, Faulkner Vol. I, 27:4-18.

       8. Most Consumers Did Not Want a Manual Safety, Which Was Available.

           i. Customers Preferred No Manual Safety.

       The P320 was designed for sales across customer bases, including commercial

(consumers), law enforcement, and military, each of whom want different features. Ex. 4, M.

Taylor, 225:6-15.                                                 Ex. 17, Meyer Decl. ¶ 4, Feb. 4,

2025; Ex. 4, M. Taylor, 44:21-24; id. at 234:21-25. Certain customers do not want a manual safety

because “[t]here are potential downsides in a life or death situation” such as the “time” it takes to

“disengage” the safety. See Ex. 4, M. Taylor, 43:15-44:9. Similarly, many law enforcement



                  Ex. 18, Farkas Decl. ¶ 6, Feb. 2, 2025.




-       Ex. 7, Watkins at 14-15; see also Ex. 13, Rauschenberger, ¶ 55. Mr. Farkas confirmed that



Ex. 18, Farkas Decl., ¶ 7; Ex. 6, Farkas 141:20-142:13. Plaintiff’s employer has the same
                                                                                                   ”



philosophy, as Plaintiff carries his “Glock 19” (which does not have a manual safety) “loaded” as

his employer “want[s] [him]” to do. Ex. 12, Glasscock Vol. II, 10:11-19, 11:5-17, 134:4-9.

       For other consumers,




                                              9
     Case 6:22-cv-03095-MDH            Document 154        Filed 03/31/25      Page 18 of 54
                                                                                          Ex. 13, Rauschenberger, ¶

54.

                                                                                             Id.



                                         Id.; see also Ex. 17, Meyer Decl. ¶ 5

                                                                                                                    And,

for some consumers, “

                                             ” of the P320. Ex. 13, Rauschenberger, ¶ 48.

           Moreover, “

                                                                                                       .” Id. ¶ 48. For

example, some customers who originally purchased a P320 with a safety

                        Ex. 17, Meyer Decl. ¶ 6; Ex. 13, Rauschenberger, ¶ 48

                                                                                           . Both Plaintiff and Mr.

Faulkner wanted to purchase the P320 despite knowing it did not have a manual safety. Mr.

Faulkner explained that when he bought the P320, he knew it “did not come with external safety

features.” Ex. 15, Faulkner Vol. I 26:22-27:18. Plaintiff similarly admitted that he knew that the

P320 “didn’t have any external safeties.” See Ex. 11, Glasscock Vol. I at 40:18-25, 42:11-43:14.9

Ultimately, though, Mr. Faulkner’s preferences changed based on his family’s interests: he “told

[Plaintiff] that [Mr. Faulkner’s] wife wanted ... him to sell the Sig Sauer P320 because it did not

have an external safety.” Ex. 21, Pl.’s Resp. to Def.’s First Interrogs. No. 5.




9
    Mr. Faulkner sent pictures of the P320 without external safety features to Plaintiff before the sale. See Exs. 19-20.


                                                      10
        Case 6:22-cv-03095-MDH                  Document 154             Filed 03/31/25         Page 19 of 54
            ii. Sig Sauer Always Offered a Manual Safety Model.

         In recognition of different customer preferences, Sig Sauer offered an “optional” manual

safety throughout the Putative Class Period (and to date). Ex. 4, M. Taylor, 130:12-19; Ex. 2, T.

Taylor Decl. ¶ 62; see also Pl.’s Ex. 4, Biller Report, at 20



                                                           .” Ex. 9, Strader Decl. ¶ 7.

                                                                 ” Ex. 2, T. Taylor Decl. ¶¶ 63-64.

         Moreover,



                                                                                         Ex. 7, Watkins

at 34-35; see also Ex. 4, M. Taylor, 144:1-18



   B. Sig Sauer Marketed the P320 with Varied Advertising in Varied Channels.

         1. Any Consumer Exposed to Sig Sauer’s Website Could Have Seen Different
            Content.



                        Ex. 2, T. Taylor Decl. ¶ 26. Sig Sauer


-
¶ 27.
             ” Id.

                                                                                                    Id.



                                                                             Id. ¶ 28.



                                       .” Id. ¶¶ 26, 29.




                                            11
        Case 6:22-cv-03095-MDH        Document 154         Filed 03/31/25      Page 20 of 54
                                                                Ex. 13, Rauschenberger, 22. Eve1yone

                                                          ." Id. ,r 34.

           2. No Evidence Has Been Offered to Show Which Consumers Saw What
              Advertising at What Time.



                                                             ." Ex. 2, T. Taylor Deel. ,i,r 21-22. -

                                                                                      ." Id. ,i 18. These include

its




                                                             ." Id. ,r,i 19-20, 23.



                                                                  " Id.   ,r 24. Many of Plaintiff's cited
advertisements were only                                                                            , and many

prior to the start of the Putative Class Period such that they are

                                      Ex. 13, Rauschenberger, ,r 34.


                                                                     " Ex. 2, T. Taylor Deel. ,r 31 (citing
           Pl.'s Ex. 1).
      •    Plaintiff's Exhibit 22 '
           use

      •
           ,r 43 (citing Pl. 's Ex. 25).
      •    Plaintiff's Exhibit 26 is an advertisement
                                "Id. ,r 44 (citing Pl.' s Ex. 26).



                                                  12
          Case 6:22-cv-03095-MDH            Document 154         Filed 03/31/25           Page 21 of 54
    •    Plaintiffs Exhibit 27 is
                             "Id. ,i 45 (citing Pl. 's Ex. 27).




                                                                      Id. This is because consumers,

like Plaintiff, can purchase the P320 without interacting with Sig Sauer. For example, Plaintiff did

not recall seeing any of the Motion's adve1tisements. See Ex. 12, Glasscock Vol. II, 28:22-29:15

(Pl. 's Ex. l); 30:14-23 (Pl.'s Ex. 22); 31:13-32:5 (Pl.'s Ex. 25); 34:15-23 (Pl.'s Ex. 26); 35:16-

36: 1 (PL's Ex. 27). Nor did Plaintiff recognize other Sig Sauer advertisements or ai1icles. Id. 43:24-

44:8 (Ex. 8, SIG-MARKETING-000213); 114:24-115:6 (Ex. 22, Press Release); 119:16-120:4

(Ex. 23 [Ex. 15 to Glasscock Vol. II]). Plaintiff was only able to aiiiculate that he had seen

"pictures of SIGs" and "pictures of militaiy-dressed people with the P320," see id. at 29: 18-19,

32: 11-13, but not that Sig Sauer published those pictures. See id.

         3. Sig Sauer Disclosed That Consumers Could Purchase a P320 with a Manual
            Safety, that the P320 Had a Crisp Trigger and that the Ml7 was the Model P320
            That Was Comparable to the Military Version.

         For those consumers who did review Sig Sauer's marketing and adve1iising, they would

have seen that Sig Sauer had disclosed ce1iain characteristics Plaintiff claims were pai1 of the 3-

Pait Defect. See Mot. 33.

                              ee, e.g., Ex. 2, T. Taylor Deel. ,i,i 32, 62-65; PL's Ex. 12 at SIG-

GLASSCOCK 00001736~39, 42~52, 56~62; Ex. 24, SIG-MARKETING-000096.

         Sig Sauer also infonned consumers about the P320's "light" and "short" trigger pull. For

example, a Sig Sauer brochure for the P320 Full-Size (Plaintiff's P320 model) described his model

as having a trigger pull weightof"6.5 lbs."Ex. 8, SIG-MARKETING000213-214; Ex. 2, T. Taylor

Deel. ,i 32; see also Ex. 12, Glasscock Vol. II, 44:3-45 :6. Other adve1iisements stated that the P320



                                               13
        Case 6:22-cv-03095-MDH           Document 154         Filed 03/31/25     Page 22 of 54
has a “smooth, crisp trigger pull.” Ex. 2, T. Taylor Decl. ¶ 32; Ex. 12, Glasscock Vol. II, 51:2-19;

Ex. 25 [Ex. 6 to Glasscock Vol. II]; Pl.’s Ex. 26. Plaintiff admitted that he understood a “crisp

trigger” pull to mean “quick,” like a “crisp bite” of an “apple.” Ex. 12, Glasscock Vol. II, 51:11-

19; see also Ex. 2, T. Taylor Decl. ¶ 32. As to the “energized” nature of the P320, Plaintiff

conceded he has never seen “a manufacturer advertise that ... the firearm at issue is fully

energized.” See Ex. 12, Glasscock Vol. II, 57:1-8; see also Ex. 7, Watkins, 5
                                                                                          -
       Finally, as to Plaintiff’s personal belief that Sig Sauer concealed how “the gun that [he]

purchased was [not] the same one that the military had,” Ex. 12, Glasscock Vol. II, 118:20-21,

Plaintiff admitted that Sig Sauer disclosed that the M17 and M18 were the military versions and

available with safeties. See id. at 120:19-121:5; see also Ex. 22 at 1; Ex. 23 at SIG-MARKETING-

000109.



                                                                                           Ex. 2, T.

Taylor Decl. ¶ 52; see also Ex. 2, T. Taylor Decl. Exs. H, I, J at SIG-GLASSCOCK00008812.

And the difference in color was obvious as the M17 was “coyote-tan” and the Plaintiff’s Full Size

P320 was black. Compare, e.g., Ex. 2, T. Taylor Decl. Exs. J at SIG-GLASSCOCK00008812,

with Ex. 8, SIG-MARKETING213.

       4. The Owner’s Manual Is Not Advertising, The Content Varied Throughout the
          Class Period, And Is Not Viewed by Many Consumers.



                    Ex. 2, T. Taylor Decl. ¶ 55. The Owner’s Manual is

                                                                            Id. ¶¶ 54-55. As Dr.

Rauschenberger noted,



                                            14
     Case 6:22-cv-03095-MDH           Document 154        Filed 03/31/25      Page 23 of 54
                                                                                                       Ex. 13,

Rauschenberger, ,r 31.

                                                                                                           Id.

Neither Plaintiff nor Mr. Faulkner "read" the Owner's Manual before or after purchase. Ex. 11,

Glasscock Vol. I, 49:16-22, 50:22-51 :4; Ex. 15, Faulkner Vol. I, 35:20-22. Plaintiff also did not

read the owner's manual for his Taurus or Glock 23, Ex. 12, Glasscock Vol. II, 15:15-19, 126:12-

18, and he only looked at "the picture po1iion" and "labeling" of his Glock 19 operator's manual

during an employer training class. See id. at 126: 19-127:4. 10

   C. Plaintiff Has Not Identified the Putative Class or Their Purchases.




                                              . Ex. 2, T. Taylor Deel. ,r,r 6, 9.



                                                                         Id. ,r 9 n.1. 11




                                            Pl. 's Ex. 11 , Stockton Report ("Stockton") ,r 36 n.20.


                                             15
     Case 6:22-cv-03095-MDH            Document 154            Filed 03/31/25          Page 24 of 54
                                                       .” Id. ¶ 6.



                                                                         . Id. ¶ 7.

                                                                                 Id. ¶ 8.



Id. ¶¶ 57-58.                                  . Id.




26, Report of Jon Tomlin dated March 30, 2025 (“Tomlin”) ¶ 32 (“
                                                                               Id. ¶ 59.
                                                                                            -
                                                                         Id. ¶¶ 57-58; see also Ex.



                                                           ).

       When setting the MSRP, “




                   ” Id. ¶ 6. “
                                                                 Ex. 9, Strader Decl. ¶ 5,
                                                                                             -
                                              ” Ex. 9, Strader Decl. ¶¶ 7, 8 (emphasis added).

       2. The Sales Chart

       Plaintiff claims that Sig Sauer “maintains internal records of the number of P320s sold to

Missouri consumers,” and has “sold over 19,000 P320s,” Mot. ¶¶ 60-61, 32. This is incorrect. “■




     Case 6:22-cv-03095-MDH
                                  (the “Sales Chart”). See Ex. 2, T. Taylor Decl. ¶ 10.


                                           16
                                     Document 154        Filed 03/31/25       Page 25 of 54
                                                                                            -
                                              .” Ex. 2, T. Taylor Decl. ¶ 15.




                                                                  .” Id. ¶ 11.




Id. ¶ 13.

                     Id. ¶ 14. “


-       ” Id. Therefore, contrary to Plaintiff’s contention, Mot. ¶¶ 60-61,



                ” Ex. 2, T. Taylor Decl. ¶ 12,

                                        See Ex. 26, Tomlin, ¶ 31



                                         ”). Otherwise, Plaintiff’s expert Ms. Peak proposes to use

social media to target individuals who may be part of the class. Peak Decl. ¶¶23-27.

        3. Mr. Stockton’s Proposed Damages Model Does Not Account for These
           Deficiencies.

        Plaintiff’s damages expert “                                                                 ”

Mot. ¶ 73 (citing Stockton, ¶ 16). Mr. Stockton opines that he is utilizing “

                                                                                 ” (Stockton, ¶¶ 9, 14)

or “



                                             17
       Case 6:22-cv-03095-MDH          Document 154        Filed 03/31/25        Page 26 of 54
(''MSRP Analysis"). Id. ,i 10.




               " Ex. 26, Tomlin, ,i 9(a). Fmi her,

                                                                               Id. iJiJ66-72. Finally, ■



                                                                                                 Id.iJ41.

    D. The Named Plaintiff, Mr. Glasscock, Exemplifies Why a Class Cannot Be Certified
       Here.

        1. Plaintiff Is a Law Enforcement Officer That Grew Up with Firearms and
           Bought Firearms Before Without a Manual Safety.

        Plaintiff is a law enforcement officer who "grew up with fireanns." Ex. 11, Glasscock Vol.

I, 11: 15-1 9, 17: 1-17. Prior to purchasing the P320, Plaintiff purchased the Glock 23 and the Tamus

TCP 380, neither of which have a manual safety. Id. at 15:7-11, 25:13-20, 35:1-3; 36:13-1 9.

Plaintiff also cmTently cru.Ties a Glock 19 that "was issued to [him] by the sheriffs office," which

does not have a manual safety. Ex. 12, Glasscock Vol. II, 10:9-15; 11 :5-1 7. Plaintiff cru.Ties his

Glock 19 "loaded" because his "employer want[s]" him to do so. Id. at 134:4-9.

        2. Plaintiff Sued Sig Sauer After His Attorneys Told Him His P320 Was Defective.

        Prior to filing his Complaint, Plaintiff had no "issues with the pistol" including

"fimctionally, mechanically, or ... othe1w ise." See Ex. 21, Pl. 's Resp. to Def. ' s First InteITogs. No.

6; see also Ex. 11, Glasscock Vol. I, 64:22-65: 1. Plaintiff has "not had an [inadvelient] dischru.·ge."

Ex. 12, Glasscock Vol. II, 88:21-23. Plaintiff"didn't seek" his com1sel. Id. 90:8-91:6. Instead, he

stalied to believe his P320 was "dangerous" because his "attorneys told [him]." id. 60:21-61: 1; see

also id. at 56:22-25 ("Q. Am I co1Tect in understanding that [Plaintiffs knowledge of the 3-Part


                                               18
     Case 6:22-cv-03095-MDH              Document 154         Filed 03/31/25       Page 27 of 54
Defect] is something you obtained from your attorneys? A. Yes, that’s how I’ve gained my

knowledge.”). Plaintiff also stopped using his P320 only after his attorneys informed him that he

“may have a claim ... regardless of whether [he] ... experienced an [inadvertent] discharge.” Ex.

11, Glasscock Vol. I, 65:2-6; Ex. 12, Glasscock Vol. II, 88:11-18; Ex. 27, Glasscock E-mail.

        On April 18, 2022, Plaintiff filed his Complaint asserting a claim under the MMPA alleging

that the P320 had a “heightened” and “higher” risk, is “more susceptible,” and had an “increased

likelihood” of inadvertently discharging. Compl. ¶¶ 26-27, 29, 61(a), 85(a). Plaintiff alleged only

that Sig Sauer “omitted and concealed” that “[t]he P320 has a heightened risk of inadvertent

discharges due to the absence of external safety features.” Id. ¶ 85(a). Plaintiff also alleged that

“the Operator’s Manual never discloses to consumers that the P320 (1) lacks any external safety

feature ... and (2) ... has a higher risk of inadvertent discharges due to the absence of an external

safety feature.” Id. ¶ 29. Plaintiff did not allege any interaction he had with Sig Sauer in connection

with his purchase. See generally id. Plaintiff alleged that had he “known of these omissions, he

would not have purchased the P320 firearm, or he would have paid substantially less for it.” See

id. ¶ 64.

        3. Plaintiff Purchased the P320 “Used” from a Friend and Knew It Did Not Have a
           Manual Safety.

        Sig Sauer learned through discovery, however, that on March 30, 2020, Plaintiff purchased

the P320 “used” from Mr. Faulkner “a friend that he worked with.” See Ex. 21, Pl.’s Resp. to

Def.’s First Interrogs. No. 6; Ex. 15, Faulkner Vol. I, 49:23-25; Ex. 11, Glasscock Vol. I, 40:18-

25. Plaintiff purchased the P320 in Mr. Faulkner’s “driveway” at his “house.” See Ex. 15, Faulkner

Vol. I, 43:13-19, 46:13-22. Plaintiff conceded that his Complaint omitted these details about his

purchase. Ex. 12, Glasscock Vol. II, 121:7-122:13.




                                             19
     Case 6:22-cv-03095-MDH            Document 154         Filed 03/31/25       Page 28 of 54
       Plaintiff told Mr. Faulkner that “he was in the market for another handgun” and Mr.

Faulkner informed him that he was selling his P320. Ex. 15, Faulkner Vol. I, 40:8-16. After Mr.

Faulkner “didn’t have anything bad to say” about it, he purchased it. Id. at 40:4-16. Mr. Faulkner

sent Plaintiff pictures of the P320 without external safety features before the sale, see Ex. 19,

IMG_3203; Ex. 20 (Glasscock, Joshua 000016), and told him that he was selling it because it did

not come with a manual safety. Ex. 21, Pl.’s Resp. to Def.’s First Interrogs. No. 5. Plaintiff

described the P320 as “purty” and told Mr. Faulkner “I’ll give it a touch tonight.” Ex. 19,

IMG_3203.

       Contrary to the Complaint, while Plaintiff received the Owner’s Manual at purchase, he

admitted that he did not “read the owner’s manual” before purchase and, in fact, has never “read”

it. See Ex. 11, Glasscock Vol. I, 49:16-22, 50:22-51:4. Plaintiff has never read the “safety

warnings” and when asked whether he would have “read” a disclosure made by Sig Sauer Plaintiff

merely responded “[m]aybe.” See Ex. 12, Glasscock Vol. II, 70:9-15; 70:19-71:9.

       Plaintiff also does not have documentation for the price that either he or Mr. Faulkner paid

for the P320. Mr. Faulkner believes he initially purchased the P320 for “around $700” “in cash.”

See Ex. 15, Faulkner Vol. I, 26:18-21; Ex. 28, Faulkner Vol. II, 116:11-14; 118:22-119:4. Mr.

Faulkner attempted to obtain a record of his purchase from Academy Sports + Outdoors in

Springfield, Missouri (“Academy”), Ex. 15, Faulkner Vol. I, 26:13-17, but was unable to obtain

the “actual receipt” and the only record they could provide did not contain pricing information.

See Ex. 28, Faulkner Vol. II, 114:2-12; Ex. 29, Firearm Transaction Record at 1. When Mr.

Faulkner sold his P320 to Plaintiff, Mr. Faulkner gave him a discount because the firearm was

used and he was a friend. See Ex. 15, Faulkner Vol. I, 50:4-15. Similarly, because Plaintiff paid

“in cash,” id. at 50:16-18, there is no documentation but estimates it was only “around $400.” See




                                           20
     Case 6:22-cv-03095-MDH          Document 154         Filed 03/31/25     Page 29 of 54
id. at 50:4-15; see also Ex. 21, Pl.’s Resp. to Def.’s First Interrogs. No. 5. Finally, as noted, even

though Mr. Faulkner purchased the P320 in Missouri during the Putative Class Period, that serial

number is not listed on the Sales Chart. Ex. 2, T. Taylor Decl. ¶ 12.

       4. Plaintiff Repeatedly Testified That He Was Not Exposed to Sig Sauer
          Advertising Prior to Purchase and Never Mentioned That He Wanted to Be
          Informed About the Pistol’s Trigger Pull or Highly Energized Nature.

       In addition to not alleging in his Complaint that he was exposed to any advertising from

Sig Sauer prior to his purchase, see Compl. ¶ 31, Plaintiff averred in his interrogatory responses

that “[p]rior to completing the purchase,” he reviewed only “the website for Palmetto State

Armory” (an online gun seller), “talked to acquaintances who were former military personnel who

said Sig Sauers were good pistols and that the military switched to them,” and “read[] an article

on the military’s use of Sig Sauer pistols” that was not published by Sig Sauer. See Ex. 21, Pl.’s

Resp. to Def.’s First Interrogs. No. 5. In Plaintiff’s initial May 16, 2023, deposition, when asked

whether he “recall[ed] any of the websites [he] looked at that indicated the P320 was a good pistol,”

he stated “I don’t recall any specific websites” and conceded he “[couldn’t] recall any of my

specific websites or research,” Ex. 11, Glasscock Vol. I, 55:3-5, 57:11-12. He further conceded

that he did not “recall any information [he] saw on SIG Sauer’s website that factored into [his]

decision to purchase the P320,” id. at 57:11-21, or “any of the websites that [he] looked at that led

[him] to believe the P320 [he] was purchasing was the same as the military version” but he couldn’t

“imagine why [he] wouldn’t have” gone to the Sig Sauer Website. Id. at 75:7-10; 57:1-7.

       Similarly, despite alleging in 2022 only that he wanted to be informed that the P320 had

“a higher risk of an inadvertent discharges due to the absence of an external safety feature,” see

Compl. ¶¶ 29, 71, 85, Plaintiff first testified in 2023 that he wanted to know his P320 “was capable

of going off without the trigger being pulled. And that my weapon is something different than what

I thought I was getting.” Ex. 11, Glasscock Vol. I, 73:6-8. And then when asked at his March 7,


                                             21
     Case 6:22-cv-03095-MDH            Document 154         Filed 03/31/25      Page 30 of 54
2025 continued deposition “what information ... [he] want[ed] Sig Sauer to have told [him] before

[he] purchased [his] P320?” (Ex. 12, Glasscock Vol. II, 36:14-16), Plaintiff responded:

       I wish they would have told me that it has a light trigger pull, that when there's a
       round in the chamber it is fully energized, and that it does not have an external
       safety. That would have been nice to know.
Id. at 37:2-6; see also id. at 52:21-23 (“I would have liked to have been told all three of those

things in one setting as an advertisement.”). Plaintiff also conceded that his Complaint does not

“mention” that Sig Sauer “hadn’t told” him about the P320’s “short and light trigger pull” or that

it was “highly energized.” Id. at 129:14-130:17. Plaintiff also confirmed that he had never inquired

about the trigger pull “weight” or “length” or how energized a pistol was prior to any firearm

purchase. Id. at 39:15-24, 41:9-12, 43:12-16, 47:3-10, 57:9-20; see also id. at 71:19-72:19

(Plaintiff did not recall researching the “action type” of his P320 and did not understand what a

“striker-fired” pistol was).

       Plaintiff also claimed that he was “deceived whenever [he] purchased the gun” because he

“thought that the P320 that [he] had was the same one that the military had.” Ex. 12, Glasscock

Vol. II, 113:22-114:1. Yet, Plaintiff did not ask Mr. Faulkner “whether the P320 pistol that he was

purchasing ... was the same.” Ex. 15, Faulkner Vol. I, 42:5-10.

       5. Plaintiff Would Not Have Purchased His P320 For Less and Does Not Believe
          Adding a Manual Safety Repairs His P320.

       Despite also alleging in his Complaint that he “would have paid substantially less” for his

P320 (Compl. ¶¶ 8, 64), Plaintiff testified to the opposite: when asked “[i]f you had been told those

things [about the P320] prior to purchase, would you have been willing to purchase it but just for

a lower price?” he responded, “No.” Ex. 12, Glasscock Vol. II, 106:13-16; id. at 128:23-129:7.

Moreover, despite arguing in his Motion that the class suffered an ascertainable loss as to the “cost

to repair the P320’s alleged Defect” (Mot. 41-42; Stockton, ¶ 10, Tab 3), Plaintiff does not want



                                             22
     Case 6:22-cv-03095-MDH            Document 154        Filed 03/31/25      Page 31 of 54
that remedy. When asked "If someone were to take your P320, add a manual safety to it, ... would

that remedy the defect in your mind?", Plaintiff testified: "No, because there 's two other factors to

it that together make it dangerous. It's ... ready to fire, it has a sho1i trigger pull, and it has no

manual safety." Ex. 12, Glasscock Vol. II, 109:23-110:4.

         6. Plaintiff Has Not Performed His Duties as a Class Representative.

         Plaintiff had a limited understanding of his duties as a putative class representative. Id. at

79:22-24. He could only identify that his "responsibilities" were "doing depositions," "[t]alking to

my attorneys" and being "honest[]." Id. at 79 :25-81 :19. When questioned about how involved he

was in the prosecution of the case, he repeatedly stated that he let his cOlmsel handle the "attorney

things." Id. at 75:8-76:3 ("Q. Do you know whether SIG Sauer filed a motion for summa1y

judgment in this case? A. I don't know specifically. I've let my attorneys handle the attorney

things."); see also id. at 78: 17-79: 1. Plaintiff also did not identify monitoring class counsel as a

duty or responsibility he had. See generally id. at 79:22-81:19.

    E. Public Knowledge of Discharge Incidents Varied Significantly and Sig Sauer Was
       Not Aware of the Claimed Defect Until Plaintiff Filed His Motion.

         1. Very Few P320 Discharge Incidents Were Reported to Sig Sauer.

         Plaintiffs Motion cites Sig Sauer inadvertent discharge incident reports 12 and 32 lawsuits

identified by Plaintiffs cOlmsel. See Mot. ,i,i 49-50; Pl. 's Ex. 23, Dameron Deel. These incidents

were reported sporadically during the Putative Class Period and do not demonstrate Sig Sauer's

knowledge of a defect. Ex. 13, Rauschenberger, ,i 14 ('



                                                                                       '). For example, -



12 Plaintiff claims that Sig Sauer "collected fow- binders' worth of incident re
                                                                    orts" and "has not
~ 6 . Not so. Christopher Meyer explained that
- - - - Ex. 17, Meyer Deel. ml 2, 9; see also Ex. 30, Meyer, 20:2-20.


                                                    23
      Case 6:22-cv-03095-MDH                  Document 154            Filed 03/31/25     Page 32 of 54
                                                 Ex. 17, Meyer Deel. ,i 12.

                                                                                            Ex. 17, Meyer Deel. ,i

11, Ex. 1.

-               See Ex. 13, Rauschenberger, ,i 18.



                                                                                                                     "

Ex. 17, Meyer Deel. ,i 15-which is far different from Plaintiffs 3-Pait Defect asserted for the

first time in the Motion. See supra Facts§ A.3.

                             (see Ex. 13, Rauschenberger, ,i,i 18, 23, 25, 55).




- ·" Id. ,i 24 (emphasis added); 13 see also Ex. 17, Meyer Deel. Ex. l ; Ex. 2, T. Taylor Deel.

,i,I 65-66. '                                                                                                Ex. 13,

Rauschenberger, ,i 24                                                                          "). 14

         2. The Press and Litigation About the P320 Did Not Inform Sig Sauer of the
            Plaintiff's Claimed 3-Part Defe.ct.

         Plaintiff also cited third-patty news aiticles that referenced P320 inadve1tent discharges.

See, e.g. , Mot. ,i,i 47-48, 51 , 53-55. Any awai·eness from the media and lawsuits by consumers was

individualized: while '

                                                            ' those '


13 While Plaintiff claims that Sig Sauer "received over 200" incidents, see Mot. ,r 50, Mr. Meyer's calculation counted

up through September 2024, which was four years after Plaintiff purchased his P320 and after the Complaint was
filed.




                                                    24
      Case 6:22-cv-03095-MDH                  Document 154            Filed 03/31/25         Page 33 of 54
                               'Ex. 13, Rauschenberger, ,r 39.

       As with the incident reports, the vast majority of these occmTed after the filing of the

Complaint. See Mot. ,r 50 (2023); ,r 53 (multiple a1t icles that post-date the class period); ,r 54

(October 2024); ,r 55 (November 2024).

                                                                      See Ex. 2, T. Taylor Deel. ,r 67.

For example, Plaintiff's Motion cites to an August 2021 ABC News sto1y (more than a year after

Plaintiff purchased his P320). See Mot. ,r 47, p.22; Pl. 's Ex. 18.

                                                                 Ex. 2, T. Taylor Deel. ,r 68. -



                                                     Id. ,r 71 (quoting T. Taylor Deel. Ex. L). -

                                                                                 1s   Id.

       Similarly, during the Putative Class Period, none of the 32 lawsuits cited by Plaintiff (Mot.

,r 58; see Pl. 's Ex. 23, Dameron Deel.) dete1mined that the P320 was defective for lacking an
external safety. And in Februa1y 2022, a comt granted stlilllllaiy judgment to Sig Sauer after

holding "Plaintiffs have failed to demonstrate that the Pistol was defective." Order Granting Mot.

Summ. J. at 12, Frankenberry v. Sig Sauer, No. 19-cv-2990 (D.S.C. Feb. 4, 2022), ECF No. 79. 16




                                             25
     Case 6:22-cv-03095-MDH            Document 154         Filed 03/31/25       Page 34 of 54
       3. The FMECA Analysis


       Failure Modes and Effects Criticality Assessment ("FMECA") is a type of analysis

                                               "and'                                             " these

analyses'                                   "Ex. 13, Rauschenberger, ,r 60. '



                                                               ." Ex. 7, Watkins, 71. '



- ·" Ex. 13, Rauschenberger, ,r 60 (emphasis added).

       Plaintiff has asserted that the FMECA perfo1med by Sig Sauer in early 2017 identified the

P320 as '                     ," and that '

                                                          ." Mot. ,r,r 42-43. That is incoITect. Ex. 16,

Murphy Deel. ,r,r 4-5. Plaintiff cites the section of the FMECA that is'

                            Id. ,r,r7-9.'

                                                                                                'Id. ,r 8.

The FMECA actually concluded that the probability of an inadve1tent discharge was -

                                                                                          ." Id. ,r 11.

                                      LEGAL STANDARD

       Certification is appropriate only where, aft.e r a "rigorous analysis," the Comt detennines

Rule 23 is satisfied. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51 (2011). Courts may

'"probe behind the pleadings .... ' [which] will frequently entail 'overlap with the merits of the []

underlying claim."' Comcast Corp. v. Behrend, 569 U.S. 27, 33-34 (2013); Bennett v. Nucor Corp. ,

656 F.3d 802, 814 (8th Cir. 2011). "[D]istrict comts must rigorously scrutinize the evidence ...

and must find, by a preponderance of the evidence, that Rule 23 's requirements are met[.]" In re



                                             26
     Case 6:22-cv-03095-MDH            Document 154          Filed 03/31/25      Page 35 of 54
Pre-Filled Propane Tank Antitr. Litig., 2021 WL 5632089, at *5 (W.D. Mo. Nov. 9, 2021).

                                           ARGUMENT

I. PLAINTIFF LACKS ARTICLE III STANDING

       Standing is “a threshold issue that [the Court is] obligated to scrutinize” at any stage.

Bernbeck v. Gale, 829 F.3d 643, 646 (8th Cir. 2016). Plaintiffs must establish standing “in the

same way as any other matter on which the plaintiff bears the burden of proof, i.e., with the manner

and degree of evidence required.” Indigo LR LLC v. Advanced Ins. Brokerage of Am. Inc., 717

F.3d 630, 633 (8th Cir. 2013). Plaintiff is “obviously not a proper class representative” to represent

a class where, as here, he lacks standing and has suffered no injury, Tuft v. McDonnell Douglas

Corp., 581 F.2d 1304, 1308 (8th Cir. 1978), necessitating denial of the Motion.

   A. Plaintiff Does Not Have an Injury-in-Fact.

       1. Plaintiff Does Not Have a Manifest Defect.

        “[P]laintiffs claiming economic injury do not have Article III standing … unless they show

a manifest defect.” Johannessohn v. Polaris Indus., Inc., 9 F.4th 981, 988 (8th Cir. 2021). “[I]t is

not enough” to show “that a product line contains a defect or that a product is at risk for manifesting

this defect” the plaintiff must demonstrate “that their product actually exhibited the … defect.”

Wallace v. ConAgra Foods, Inc., 747 F.3d 1025, 1030 (8th Cir. 2014). Here, Plaintiff concedes

that his P320 has never inadvertently discharged and he has otherwise had no “issues with the

pistol.” Supra Facts § D.2. Plaintiff also cannot experience an inadvertent discharge in the future

because he has stopped using it. Id. Thus, his defect has not manifested.

       2. Plaintiff Knew He Was Purchasing a P320 Without a Manual Safety.

       Plaintiff also does not have an injury in fact because he knew what he getting—a P320

without a manual safety. A plaintiff who knew about an alleged defect “before purchas[e] … ha[s]

no injury” and “cannot claim any injury caused by Defendants’ conduct.” In re Bisphenol-A (BPA)


                                             27
     Case 6:22-cv-03095-MDH            Document 154         Filed 03/31/25       Page 36 of 54
Polycarbonate Plastic Prods. Liab. Litig., 2011 WL 6740338, at *1-2 (W.D. Mo. Dec. 22, 2011)

(denying certification); see also White v. Just Born, Inc., 2018 WL 3748405, at *5-7 (W.D. Mo.

Aug. 7, 2018) (same; “[w]ithout establishing that they were unaware of the amount of slack-fill

...class members will not be able to show injury.”). The same result is compelled here. Plaintiff

knew he purchased a P320 without a manual safety. Supra Facts §§ D.1-3.

        3. Plaintiff Received the Benefit of His Bargain.

        Plaintiff does not have an injury in fact because he conceded that he bargained for a P320

without a manual safety and that is what he received. Id. In his Complaint, Plaintiff asserted he

was injured because he “would not have purchased [the P320] or would have paid substantially

less for [it],” had the information been disclosed to him. Compl. ¶ 89. Plaintiff testified that he

would not have been “willing to purchase” the P320 “for a lower price.” Ex. 12, Glasscock Vol.

II, 106:13-16. In any event, Plaintiff did not offer evidence that he paid a higher price for his P320

(he did not –Plaintiff purchased the P320 used at a discount).17 See supra Facts § D.3.

     B. Plaintiff’s Purported Injury Is Not Fairly Traceable to Sig Sauer.

        Plaintiff also does not have standing because any purported injury-in-fact is not fairly

traceable. “There must be causation – a fairly traceable connection between the plaintiff’s injury

and the complained-of conduct of the defendant.” Agred Found. v. U.S. Army Corps. of Eng’rs, 3

F.4th 1069, 1073 (8th Cir. 2021) . “[T]raceability … requires the plaintiff to show a sufficiently

direct causal connection[.] That connection cannot be overly attenuated.” Id. An “out-of-pocket

loss” alone does not satisfy the standing requirement “without reference to its cause.” Brown v.

Medtronic, Inc., 628 F.3d 451, 457-58 (8th Cir. 2010) (affirming lack of traceability). Where a



17
   “[C]laims may not be typical … because he purchased his ... product secondhand and did not pay … retail price for
it[.]” See Stotz v. Mophie Inc., 2017 WL 11571083, at *14 n.18 (C.D. Cal. Dec. 14, 2017) (tentative). Plaintiff
purchased used and “                                                                   .” See Ex. 26, Tomlin, ¶ 67.


                                                  28
      Case 6:22-cv-03095-MDH                Document 154            Filed 03/31/25         Page 37 of 54
plaintiff cannot demonstrate that he “saw the labels and relied on them in making his purchasing

decision,” his injury does not “stem[] from Defendant’s false, misleading, or deceptive labeling

practices.” In re Smitty’s/Cam2 Mktg., Sales Pracs. & Prods. Liab. Litig., 2022 WL 710192, at *8

(W.D. Mo. Mar. 9, 2022); see also Sgouros v. TransUnion Corp., 2023 WL 6690474, at *5 (N.D.

Ill. Oct. 12, 2023) (plaintiffs “never read any website [or other advertising] content” and “could

not have been misled by a website [they] did not read”).

       Such is the case here. Plaintiff has offered no evidence that he was exposed to, let alone

relied upon, a statement by Sig Sauer prior to purchase. He did not. Plaintiff admitted he bought

his P320 from his friend, never “read the owner’s manual,” and relied on only non-Sig Sauer

sources of information. See supra Facts §§ B.4, D.3-4. A direct causal connection between Plaintiff

and Sig Sauer does not exist. Even if Sig Sauer had made the disclosure Plaintiff seeks, it would

not have prevented him from purchasing his P320. Thus, his claimed injury is not fairly traceable.

   C. Plaintiff Cannot Pursue Injunctive Relief or a Class After April 2022.

       Plaintiff cannot seek injunctive relief or represent class members who purchased their P320

after April 18, 2022. Even if Plaintiff had standing for monetary relief (which he does not), this

“does not mean that he has standing for injunctive relief.” May v. Makita, 2023 WL 417487, at *3

(E.D. Mo. Jan. 26, 2023). A plaintiff must “face[] a real and immediate threat … [of] a similar

injury in the future.” Id.; Meagley v. City of Little Rock, 639 F.3d 384, 391 (8th Cir. 2011)

(affirming lack of standing). Plaintiff does not have standing for injunctive relief because he “can

no longer claim to be misled by defendant’s omission … because he now knows of the product

defects … and can elect not to buy the product.” May, 2023 WL 417487, at *3 (“plaintiff’s

knowledge … precludes his reliance”). Plaintiff does not offer any evidence to support his request

for injunctive relief. Compl. at 18. Regardless, he cannot be misled again. Supra § A.3. Thus, he

cannot seek injunctive relief, including representing anyone who purchased after April 18, 2022.


                                            29
     Case 6:22-cv-03095-MDH           Document 154         Filed 03/31/25     Page 38 of 54
II. PLAINTIFF IS ATYPICAL AND INADEQUATE.

       Typicality assesses “whether the named plaintiff’s claim and the class claims are so

interrelated that the interests of the class members will be fairly and adequately protected.” In re

Milk Prods. Antitr. Litig., 195 F.3d 430, 436 (8th Cir. 1999). Typicality is not met through “general

conclusory allegations.” Huskey v. Birch Telecom of Mo., Inc., 2018 WL 4679738, at *3 (E.D. Mo.

Sept. 28, 2018). A plaintiff must “submit sufficient evidence.” Henke v. Arco Midcon, LLC, 2014

WL 982777, at *9, *22 (E.D. Mo. Mar. 12, 2014) (denying certification). Relatedly, adequacy

requires a plaintiff “to prove” he “will adequately represent the class.” Rattray v. Woodbury Cnty.,

Iowa, 614 F.3d 831, 835 (8th Cir. 2010). Adequacy is “of critical importance” and requires “careful

attention.” Vervaecke v. Chiles, Heider & Co., 578 F.2d 713, 719-20 (8th Cir. 1978) (plaintiff

“inadequate”); see also Milk Prods., 195 F.3d at 436 (adequacy must be “evaluate[d] carefully).

       Here, Plaintiff does not meet his burden through a conclusory five-sentence discussion (see

Mot. 34; Dameron Decl. ¶ 30). Plaintiff is not typical or adequate as he: (a) is subject to unique

defenses, (b) has not suffered the same injury as the class, and (c) is inadequate for other reasons.

   A. Plaintiff Is Subject to a Multitude of Unique Defenses.

       “A proposed class representative is not adequate or typical if it is subject to a unique

defense that threatens to play a major role.” Milk Prods., 195 F.3d at 437. Courts routinely deny

class certification because “the presence of even an arguable defense peculiar to the proposed

representative may destroy typicality.” See, e.g., In re GenesisIntermedia, Inc. Sec. Litig., 232

F.R.D. 321, 329-30 (D. Minn. 2005) (denying certification); Tate v. Weyerhaeuser Co., 723 F.2d

598, 609 (8th Cir. 1983) (affirming denial); J.P. v. BCBSM, Inc., 2021 WL 131234, at *9 (D. Minn.

Jan. 14, 2021) (“unique defense … threaten[ed] to entail significant attention and resources”). For

example, in In re Hardieplank Fiber Cement Siding Litig., the “named [p]laintiffs claims [were]

not typical … because they were exposed to different representations and, often, were not exposed


                                             30
     Case 6:22-cv-03095-MDH            Document 154        Filed 03/31/25      Page 39 of 54
... at all." 2018 WL 262826, at *13 (D. Minn. Jan. 2, 2018).

        Here, Plaintiff is subject to unique defenses, including a lack of standing and a failure to

establish nearly eve1y MMPA element. Since Plaintiff has not demonstrated traceability for

standing, he also does not have causation for his MMPA claim. 18 He also cannot show Sig Sauer' s

knowledge of the 3-Prut Defect prior to his purchase. In Riddell v. Gen. Motors LLC, the Comt

dece1tified the class because the plaintiff was "no longer ... suitable" because the plaintiff had not

shown the manufacturer "knew about the continued oil consumption defect" until October 2012

but he "purchased his truck in September 2012." 2024 WL 2077559, at *9 (E.D. Mo. May 9, 2024).

Where knowledge "post-date(s] [the plaintiffs'] purchases," its absence is "fatal." Garrard v. Rust-

Oleum Corp., 575 F. Supp. 3d 995, 1002 (N.D. Ill. 2021); see also Elfaridiv. Mercedes-Benz USA,

LLC, 2018 WL 4071155, at *5 (E.D. Mo. Aug. 27, 2018) ("12 complaints ... prior to the purchase

... are not significant when compared to the ... number of class vehicles"). Here, the FMECA ■

                                              (supra Facts § E.3), and

                                                                                      . Id.§ E.l.

        Moreover, Plaintiff is also subject to the unique defense that he has no asce1tainable loss.

"Missouri courts ... apply the ... 'benefit of the bargain' rule to dete1m ine whether an MMPA

plaintiff has suffered an asce1tainable loss," which is "the difference between the value of the

product as represented and the actual value of the product as received." Hennessey v. Gap, Inc. ,

86 F.4th 823, 827 (8th Cir. 2023). Plaintiff has disclaimed his price premium theo1y of damages

(supra Facts § D.5), testifying only that he was injured because he "would not have pm-chased"

his P320 had he known. Id. But, asce1tainable loss is "distinct" from "the existence of a deceptive

practice" and Plaintiff "must also prove an ascertainable loss." Id. at 830. He fails to do so here.


18
  These unique defenses have already played a major role and entailed significant attention and resomces. See
Glasscock, ECF Nos. 66-67, 69-70, 97, 101, 105-06, 130, 133-34.


                                                31
     Case 6:22-cv-03095-MDH               Document 154          Filed 03/31/25       Page 40 of 54
   B. Plaintiff Has Not Suffered the Same Injury as the Putative Class.

       A “class representative must … suffer the same injury’ as the class.” Wal-Mart, 564 U.S.

at 348-49. “Without uniform injuries, plaintiffs cannot suffer the same injury[.]” Strutton v. Blake,

2005 WL 8176850, at *1 (E.D. Mo. Sept. 29, 2005). To have the same injury, a class representative

must have “common objectives and legal and factual positions.” Keister v. Allstate Fire & Cas.

Ins. Co., 663 F. Supp. 3d 1030, 1041 (W.D. Mo. 2023). Here, Plaintiff’s bare assertion that “he

suffered the same injury” is plainly insufficient. See Mot. 34. Plaintiff asserts that he was injured

because he was not told about the 3-Part Defect and that he was not buying the military version.

Id. at 33. Plaintiff, however, has not offered any evidence that his idiosyncratic beliefs are held by

any other putative class member. In fact, Plaintiff has conceded Sig Sauer publicly disclosed that

the M17 and M18 were the P320 military models, which “c[a]me with a manual safety” and that

P320 had a “crisp” trigger pull, so other class members may have been aware of some (or all) of

the sought information. See supra Facts § B.3. Moreover, Plaintiff himself disclaimed both the

price premium injury and the repair remedy sought. See supra Facts § D.5.

   C. Plaintiff Fails to Demonstrate He Is Adequate for Additional Reasons.

       Plaintiff is not adequate for three other reasons. First, Plaintiff has not performed his duties

properly nor meaningfully participated in the case. Plaintiffs must be “the driving force behind

[the] action.” Bodner v. Oreck Direct, LLC, 2007 WL 1223777, at *2-3 (N.D. Cal. Apr. 25, 2007)

(“plaintiff’s counsel constructed ... lawsuit before it had a plaintiff”). Instead, Plaintiff here is

“simply lending [his name] to a suit controlled entirely by the class attorney.” Price v. United

Servs. Auto. Ass’n, 2012 WL 2847821, at *8 (W.D. Ark. Mar. 16, 2012) (denying certification),

R. & R. adopted, 2012 WL 2847916 (W.D. Ark. July 11, 2012). In Keister, plaintiff was inadequate

because the plaintiff’s “understanding of how they were harmed came only from their attorney,”

plaintiff simply “read whatever [he] was presented,” and testified that the responsibility of


                                             32
     Case 6:22-cv-03095-MDH            Document 154         Filed 03/31/25      Page 41 of 54
protecting the class is the “lawyer’s job.” 663 F. Supp. 3d at 1037-40.

        The same result is warranted here. Plaintiff has “come to understand” his case through

counsel who proposed the suit to him, told him his P320 was “dangerous,” and informed him of

the purported 3-Part Defect. Supra Facts § D.2. As such, it is not surprising that Plaintiff did not

know why his Complaint failed to allege anything about the P320’s “light trigger pull” or “highly

energized” nature or why he alleged the Owner’s Manual “never warns consumer[s] that the P320

lacks external safety features,” when Plaintiff had never read it. Ex. 12, Glasscock Vol. II, 127:5-

130:17; 123:7-124:8. Post-filing, Plaintiff continues to defer entirely to counsel, letting his

“attorneys do attorney things,” “deal” with the action, and reading only what his “attorneys [give]

him.” Id. 75:23-76:3, 11-13; 78:23-25. When asked if he could identify other happenings in the

case besides his deposition, Plaintiff responded, “that’s what I have attorneys for.” Id. at 75:8-10.19

        Second, Plaintiff is inadequate because his credibility can be called into question. “The

credibility of a plaintiff may be considered … in determining the plaintiff's adequacy[.]” TBK

Partners v. Chomeau, 104 F.R.D. 127, 132 (E.D. Mo. 1985); Sgouros, 2023 WL 6690474, at *5

(Plaintiff lacked credibility; he alleged that website “advertising ... misled him” but he “never

read” it); Kassover v. Comput. Depot, Inc., 691 F. Supp. 1205, 1213-14 (D. Minn. 1987) (Plaintiff

“admitted … he possesses ‘no facts’ to support essential allegations in his complaint,” and he “has

… rel[ied] entirely upon his attorney’s direction.”), aff’d, 902 F.2d 1571 (8th Cir. 1990).

        Here, Plaintiff’s credibility can be called into question as critical allegations were untrue.

Plaintiff claimed that Sig Sauer “concealed its knowledge” that the P320 does not have a manual

safety from “Plaintiff,” Compl. ¶ 84, yet Plaintiff knew that his P320 did not have a manual safety.

See supra Facts §§ D.3-5. Plaintiff also alleged he received the Owner’s Manual at purchase, but


19
 Plaintiffs must also perform their “responsibility of monitoring class counsel.” Pruitt v. Pers. Staffing Grp., 2020
WL 3050330, at *9 (N.D. Ill. June 8, 2020). Yet, Plaintiff did not identify that as his duty. Supra Facts §D.6.


                                                   33
      Case 6:22-cv-03095-MDH                 Document 154           Filed 03/31/25          Page 42 of 54
he did not allege that he “never read any [of its] content.” Id. § D.3. And despite alleging a price

premium injury, Plaintiff testified he would not have paid “a lower price.” Id. § D.5. Moreover, as

the case has proceeded (and his counsel’s strategy), so has Plaintiff’s testimony. He first claimed

that the P320 was defective because it fired without a “trigger pull,” and now it is the 3-Part Defect.

Id. § A.3. Similarly, he provided vastly different answers regarding what Sig Sauer should have

told him, id. § D.4, most recently, that the 3-Part Defect be advertised “in one setting.” Id.

           Finally, “courts have repeatedly held that … splitting out personal injury … claims …

destroy[s] adequacy.” See, e.g., Thornburg v. Ford Motor Co., 2022 WL 4348475, at *7 (W.D.

Mo. Sept. 19, 2022) (quoting Henke, 2014 WL 982777, at *11). Unlike the class defined in the

Complaint, which excluded “any individuals who have suffered personal injury” (Compl. ¶ 68),

the Motion class does not (see Mot. 31 n.8). While Plaintiff never had an inadvertent discharge,

other class members could assert personal injury claims. By “leaving the class open to those who

suffered personal injury but not pursuing” those claims, there is “a compelling reason to deny class

certification.” Nafar v. Hollywood Tanning Sys., 339 F. App’x 216, 224 (3d Cir. 2009).20

III.THE PROPOSED CLASS CANNOT BE CERTIFIED UNDER RULE 23(B)(3).

           “Rule 23(b)(3)’s predominance requirement requires courts to ask ‘whether the common,

… issues … are more prevalent or important than the … individual issues.’” Johannessohn, 9 F.4th

at 984-85 (affirming denial of certification). “An individual question is one where members …

will need to present evidence that varies[.]” Id. “[P]redominance … is not satisfied if ‘individual

questions ... overwhelm the [common] questions.’” Ebert v. Gen. Mills, Inc., 823 F.3d 472, 478-

79, 480 (8th Cir. 2016) (reversing certification). Such is the case here, where standing and nearly

every MMPA element present significant individual issues, and Plaintiff fails to present a viable



20
     Carving out individuals who experienced personal injury would require an individualized inquiry. See supra §I.A.1.


                                                     34
         Case 6:22-cv-03095-MDH                Document 154            Filed 03/31/25         Page 43 of 54
classwide damages model.

   A. Standing Is an Individualized Issue.

         “[A] class cannot be certified if it contains members who lack standing.” Avritt v. Reliastar

Life Ins. Co., 615 F.3d 1023, 1034 (8th Cir. 2010); Halvorson v. Auto-Owners Ins. Co., 718 F.3d

773, 779-80 (8th Cir. 2013) (Certification is “improper” because “[s]ome of the members likely

have standing, and some … do not.”). Here, the same Article III standing issues that foreclose

Plaintiff’s standing, see supra § I, likely apply to others because they: (a) have not manifested a

defect

(supra Facts § E.1 n.14); (b) likely knew they were purchasing without a manual safety, that the

P320 had a “crisp” trigger, or was not the military version; for example,

                         (id. § B.3; Ex. 26, Tomlin, ¶ 53); (c) likely were not exposed to any Sig

Sauer advertising prior to purchase (id. §§ B.1-2); and (d) may have known about the allegations

and purchased anyway (id. Facts §§ E.1-2). Therefore, the class cannot be certified.

   B. Individual Issues Predominate Nearly Every MMPA Element.

         MMPA claims often do not survive Rule 23(b)(3)’s “rigorous analysis.” See, e.g., In re

BPA, 2011 WL 6740338, at *5, *10; State ex rel Coca-Cola Co. v. Nixon, 249 S.W.3d 855, 864

(Mo. 2008) (en banc). Here, individual issues predominate for: (1) deception; (2) knowledge; (3)

materiality; (4) causation, (5) ascertainable loss; and (6) purchase type, preventing certification.

         1. Deceptive Omission Is an Individualized Issue.

         The Amendment made clear that an MMPA claim requires a plaintiff “to show a likelihood

that the method, act, or practice alleged to be unlawful would mislead a reasonable consumer.”

Abbott, 677 F. Supp. 3d at 946 (emphasis added) (dismissing claim); Guerrero v. Henkel Corp.,

2024 WL 2769745, at *4 (E.D. Mo. May 30, 2024) (same). As explained in Boren v. Henkel, “when

there is ‘no evidence … that would amount to fraud or deception,” MMPA claims fail. 2024 WL


                                              35
     Case 6:22-cv-03095-MDH             Document 154        Filed 03/31/25      Page 44 of 54
2768669, at *4 (E.D. Mo. May 30, 2024) (cleaned up); see also In re Emerson Elec. Co. Wet/Dry

Vac Mktg. & Sales Litig., 2022 WL 670131, at *3 (E.D. Mo. Mar. 7, 2022) (“Plaintiffs have not

presented class-wide proof of misleadingness.”). That is the case here.

       Plaintiff has presented no evidence that there is a common belief of his combined

deception. Plaintiff states only in passing (and without evidentiary support) that “whether a

reasonable consumer would be deceived … is subject to class-wide resolution.” Mot. 39. Plaintiff

has identified two omissions: (1) the 3-Part Defect; and (2) that “the gun that [he] purchased was

the same one that the military had.” Supra Facts § D.4. Yet, Plaintiff has offered no evidence the

putative class shares his subjective belief about either, let alone all of them together. Quite the

contrary, Plaintiff conceded that some customers likely saw advertising that disclosed: (a) that the

manual safety was “optional”; that the M17 and M18s were the military models; and (c) that the

P320 had a “crisp” trigger. Id. § B.3. Those who saw these advertisements were not deceived. See

Klosterman v. Vacation Mgmt. Sols., LLC, 682 S.W.3d 781, 786 (Mo. App. E.D. 2023) (“no

evidence of any ‘deception’” where the “omitted” information was disclosed). Thus, disparate

views likely exist within the class of what, if anything, was withheld by Sig Sauer. In summary,

Plaintiff has not put forth any (let alone common) evidence to establish deception here.

       2. Sig Sauer’s Knowledge Is an Individualized Issue.

       Plaintiff has not met his burden to demonstrate through common evidence that Sig Sauer

had knowledge of the 3-Part Defect. Courts have refused to certify classes where, like here, the

defendant’s knowledge varied over time and would require an individualized determination as to

which class members (if any) the company could be liable. See In re Ford Motor Co. Vehicle Paint

Litig., 182 F.R.D. 214, 220, 222 (E.D. La. 1998) (“Ford’s state of knowledge was not uniform[.]”);

Ford Motor Co. v. Sheldon, 113 S.W.3d 839, 849, 851 (Tex. Ct. App. 2003) (same); Sanneman v.

Chrysler Corp., 191 F.R.D. 441, 453, 457 (E.D. Pa. 2000) (same). In BPA, plaintiffs alleged the


                                            36
     Case 6:22-cv-03095-MDH           Document 154        Filed 03/31/25      Page 45 of 54
defendant omitted disclosures of potential contaminants. 2011 WL 6740338, at * 1. There, "[c]lass-

wide evidence [could not] be used to show what [d]efendants knew ... because their knowledge

and the available info1mation ... changed during the class period." Id. at *5. The Comi rejected

the attempt to use evidence of later knowledge to prove prior knowledge because "[p]roof that

[d]efendants failed to disclose infonnation that came into existence in 2006 ... does not prove--

nor could it prove--[d]efendants' liability before then." Id. at *5, *10.

         So too here. Plaintiff has not offered collllllon evidence that Sig Sauer had knowledge of

the 3-Paii Defect when each putative class member purchased for over five yeai·s. When Plaintiff

purchased approximately 3 yeai·s into the Putative Class Period,

                                                Ex. 41, Meyer Deel. ,II 2. At the sta1i of the Putative Class

Period, Plaintiff pointed to only the FMECA (Mot. 16-18), which Plaintiff misinte1preted--l



                                                 . Supra § E.3. And, Plaintiff's use of allegations and

incidents at the end of (or even after) the Putative Class Period callllot show Sig Sauer's prior

knowledge. See Mot. ,i,i 47-50, 53-55. Regardless, many of those incidents were dete1mined to be

from user enor. Supra § E.2.21 Moreover, claims about the defect have evolved as prior to mid-

April 2022 users claimed '                                                             ' (Ex. 17, Meyer Deel. ,i

15), but the first time Sig Sauer heai·d about this alleged 3-Pait Defect was in Plaintiff's Motion.

        Plaintiff mistakenly relies on Hays v. Nissan North America, Inc. (see Mot. 38), to argue

that knowledge does not create an individualized issue because "differences ... can be

accollllllodated by class subdivisions." 2021 WL 912262, at *7 (W.D. Mo. Mar. 8, 2021). Hays is

a pre-Amendment case that did not apply the new "stringent" requirements. Abbott, 677 F. Supp.


21
  Although Plaintiff cites the June 2024 Lang verdict (Mot. if59), it cannot demonstrate prior knowledge seven years
earlier or even when Plaintiff pmchased his P320 four years earlier.


                                                  37
      Case 6:22-cv-03095-MDH                Document 154            Filed 03/31/25         Page 46 of 54
3d at 946-47. The Court also noted that, unlike here, affirmative “misrepresentations” not subject

to a knowledge requirement were at issue. Hays, 2021 WL 912262, at *6-7. Regardless, such

“varied circumstances” diminish predominance. Luiken v. Domino’s Pizza, LLC, 705 F.3d 370, 374

(8th Cir. 2013). Thus, Plaintiff has not offered (nor could he offer) common “proof of [Sig Sauer’s]

nondisclosures.” BPA, 2011 WL 6740338, at *5.

       3. Materiality Presents Individual Issues.

        “A material fact … includes ‘any fact which a reasonable consumer would likely consider

to be important in making a purchasing decision.’” Id. at *6. “Even if this is an objective inquiry,

that does not mean it can be proven with class-wide evidence.” Id. Courts routinely deny

certification where, like here, plaintiffs do not offer common proof. In Townsend v. Monster

Beverage Corp., plaintiffs did not submit admissible expert testimony that for a “common answer”

to materiality. 303 F. Supp. 3d 1010, 1045-48 (C.D. Cal. 2018). And in In re Tropicana Orange

Juice Market. & Sales Practices Litig., the plaintiff challenged the statement “pasteurized orange

juice” but the plaintiff’s experts did “not opine on whether reasonable consumers would have

considered the ‘pasteurized’ label at all or what meaning, if any, … would have attached to it.”

2019 WL 2521958, at *12 (D.N.J. June 18, 2019). Without “evidence … regarding reasonable

customers’ understanding” and whether [it] was likely to deceive,” predominance failed. Id. at *13.

       Similarly, in BPA, the materiality inquiry could not “be determined in a vacuum, especially

when the undisclosed fact is [of] scientific debate or controversy.” 2011 WL 6740338, at *7. The

plaintiffs argued they could “use class-wide evidence … by showing Defendants’ nondisclosure of

information from the very start of the class period.” Id. at *5. The Court disagreed as the

information evolved “over the years.” Id. at *6. And in Anderson v. Ford Motor Co., the plaintiffs

alleged the defendant failed to disclose the propensity for their car’s sunroof to shatter. 2020 WL

1853321, at *2 (W.D. Mo. Feb. 14, 2020). The court held the “risk of glass breaking [a]s a potential


                                            38
     Case 6:22-cv-03095-MDH           Document 154        Filed 03/31/25      Page 47 of 54
safety concern does not automatically lead to the conclusion that [it] is material," and "a reasonable

consumer would not consider the risk of ... shattering to be material ... if the chance ... were

miniscule." Id. at *3. As it was not "extremely high in the abstract" or "significantly higher than

comparable vehicles," it was immaterial. Id. ("all brakes may fail. .. but ... need not be disclosed

... because the rate at which brakes fail is exceedingly low.").

        Materiality is an individual issue here. Plaintiff presents no evidence that Sig Sauer's

alleged omissions were material to other putative class members. See Mot. 33 (baldly asse1ting it

is a "common" issue). While Plaintiff asse1ts four distinct disclosures should have been made (id.),

class members would have received and valued info1mation differently. Supra Facts § A.8.i.

Plaintiff has not even shown he found the 3-Pait Defect material because he knew his P320 did

not have a safety and he has never "inquir[ed]," "ask[ed]," or "research[ed]" the purportedly

material facts that he now asse1ts were omitted before purchasing "a[ny] ...pistol[]." Id. § D.4.22

And the incident repo1ts suggest that "

_          , Supra Facts § E.1. Thus, materiality is not capable of common proof.

        4. Causation Presents Individual Issues.

        Where, like here, the "resolution of[] potential liability ... will be dominated by individual

issues of causation," the "need for such plaintiff-by-plaintiff dete1minations means that common

issues will not predominate[.]" In re St. Jude Medical, Inc., 522 F.3d 836, 840 (8th Cir. 2008).

While Plaintiff argues that causation may be assessed "without any individualized proof of

reliance" (Mot. 39), while "actual reliance . . . is not required," "evidence of some factual

com1ection between the misrepresentation and the purchase is required." Faltenneier v. FCA US




22  That no one has "seen a manufacturer advertise" whether a fireann "is fully energized" underscores the
ill11llateriality of this "defect." See Ex. 12, Glasscock Vol. II, 57:1-8; Ex. 7, Watkins, at 5 ,r 14.



                                               39
     Case 6:22-cv-03095-MDH              Document 154         Filed 03/31/25       Page 48 of 54
LLC, 899 F.3d 617, 622 (8th Cir. 2018) (emphasis added) (affirming dismissal).23 Thus, courts

repeatedly dismiss MMPA claims where causation is lacking. See, e.g. George v. Omega Flex, Inc.,

2020 WL 4718386, at *7, *8 (W.D. Mo. Aug. 13, 2020) (Harpool, J.) (“Plaintiffs simply cannot

establish a connection with any alleged misrepresentation and their purchase” because “Plaintiffs

who did not care about an allegedly misleading marketing practice, or who knew … and purchased

… anyway, are not injured by the practice.”); Bradley v. Hertz Corp., 2019 WL 3975177, at *6

(S.D. Ill. Aug. 22, 2019) (plaintiff “never viewed” the source of the “alleged omissions”); McCall

v. Monro Muffler Brake, 2013 WL 1282306, at *5 (E.D. Mo. Mar. 27, 2013) (“[N]either plaintiff

read the disclosures nor was misle[d].”). In White, the court rejected the argument that the

“‘reasonable consumer standard’ eliminates any individualized inquiry,” because it “does not apply

to” causation. 2018 WL 3748405, at *4.

         Here, Plaintiff has not offered common evidence of causation—he ignores the requirement

entirely. See Mot. 39. Yet, nothing Sig Sauer would have disclosed would have impacted his

purchase decision because he bought his P320 from a friend. See supra Facts § D.3.



Regardless,
                                                                                                         - Id. § C.1.



                                                                Id. § B.3. Thus, an individualized inquiry is

necessary to determine causation. Id. § III.B.1.24




23
   Plaintiff contends Diesel v. Mariani Packing Co., 2024 WL 1674520 (E.D. Mo. Apr. 18, 2024) supports certification
here “without any individualized proof of reliance.” Mot. at 39. Even so, the Eighth Circuit “require[s]” a connection
between plaintiff’s purchase and defendant’s misrepresentation. FCA, 899 F.3d at 622. In any event, there, no evidence
was presented that the named plaintiff did not have causation, Diesel, 2024 WL 1674520, at *7-9, unlike here.
24
   Plaintiff points to the Owner’s Manual as a common location where the 3-Part Defect could have been disclosed
(Compl. ¶¶ 28-30). Not so. The Owner’s Manual is not “advertising,” and purchasers (including Plaintiff and Mr.
Faulkner)— have never read it. In any event, it disclosed (a) P320 was available with a manual safety, (b) it was fully
energized after a round was chambered, and (c) the trigger pull weight of the model. Ex. 32 at 3, 17, 25, 74.


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      Case 6:22-cv-03095-MDH                  Document 154            Filed 03/31/25         Page 49 of 54
        5. Ascertainable Loss Presents Individual Issues.

        CoUits deny class ce1tification where the "proposed class 'could include [people] who were

not injmed. "' Nfron, 249 S.W.3d at 862, 864 ("[U]ninjured class members [are] those who did not

care if the Diet Coke they pmchased contained saccharin."). For example, in White, the plaintiff

alleged that "he was misled to believe that he was 'pmchasing more Product than was actually

received."' 2018 WL 3748405 , at *1. The court denied class ce1iification: "whether any MMPA

violation injmed each class member will require individualized inqui1y" because if he "knew how

much slack-fill was in a[] box before he pmchased it, he suffered no injUiy." Id. at *4. Likewise,

in BPA, the coUit denied class certification because "[i]ndividuals who knew about BPA's existence

and the Slmounding controversy before purchas[e] ... have no injUiy." 2011 WL 6740338, at *6.

        Individual issues also arise where consumers paid different prices. In Blades v. Monsanto

Co. , the coUii affnmed the "district court's holding that appellants cannot prove classwide injUiy."

400 F.3d 562, 572 (8th Cir. 2005). The coUit noted that the "wide variation in list prices ... would

require the purchasers of some [products] to prove injUiy through evidence that would vaiy ... and

thus would not be shared in common with the rest of the proposed classes." Id. at 572.

        Here, the class members' asce1tainable loss is not subject to common proof for five reasons:

   •    First, whether putative class members purchased their P320s despite knowing or not caring
        about the alleged defect is individualized. Plaintiff and Mr. Faulkner knew their P320 had
        no manual safety and many liked the P320 without it. Facts§ A .8.i.
   •    Second, whether a defect manifested is not subj ect to common proof; the CoUii would need
        to investigate whether each user suffered an inadve1tent dischai·ge. Id. §§ I.A III.A.
   •    Third Plaintiff has not offered common evidence of a rice remium in ·




        Ex. 26, Tomlin ,I 77, § VII.
   •    Finally, as Plaintiff has not put fo1ward any consumer sales records
                   roof of the price paid by the class.
                           See supra Facts § C.2. Without pricing info1mation, individual analysis



                                             41
       Case 6:22-cv-03095-MDH          Document 154        Filed 03/31/25      Page 50 of 54
        will be necessary to establish ascertainable loss. Id.

He has not shown common proof. This again distinguishes Diesel (Mot. 39-40), where plaintiff

alleged the defendant underfilled raisin bags and “caused an ascertainable loss because the value

of the raisins received by all purchasers was less than the value of the raisins as represented.” 2024

WL 1674520, at *7. This objectively clear injury—the difference in the “net weight” of the

product—was common. Id. at *9.25 Here, however, Plaintiff has offered no common evidence of

an objective disparity between what all consumers bargained for and what they received. See supra

Facts §§ A.3, A.8. Quite the contrary, what features consumers wanted their P320 to have was

“based on [their] subjective preference[s].” Nixon, 249 S.W.3d at 863.

        6. The MMPA’s Usage Requirement Requires Individual Proof.

        The MMPA requires that each putative class member establish that they purchased their

P320 “primarily for personal, family or household purposes.” Abbott, 677 F. Supp. 3d at 945; see

also White, 2018 WL 3748405, at *3 (“most—if not all—class members … purchased … from a

third party retailer” and “there [was] no master list … to provide common proof”). Here, similarly,

purchasers will need to individually attest, such that individualized issues predominate.

     C. Plaintiff Fails to Present a Viable Damages Model.

        Plaintiff’s Motion entirely ignores Comcast, which requires him to “establish” damages

are “capable of measurement on a classwide basis.” 569 U.S. at 34. A plaintiff’s damages model

must be ““consistent with its liability case.’” Emerson, 2022 WL 670131, at *3. Moreover, at the

class certification stage, the Eighth Circuit requires the Court to “conduct[] a focused” Rule 702

“analysis which scrutinize[s] the reliability of the expert testimony.” In re Zurn Pex Plumbing

Prods. Liab. Litig., 644 F.3d 604, 614 (8th Cir. 2011); see also Emerson, 2022 WL 670131, at *3


25
  Shortly after, the Diesel Court granted summary judgment because the plaintiff “received what she bargained for
and cannot demonstrate ascertainable loss.” 2024 WL 4263944, at *5, *10 (E.D. Mo. Sept. 23, 2024).


                                                 42
      Case 6:22-cv-03095-MDH               Document 154           Filed 03/31/25        Page 51 of 54
(denying class ce1tification after striking an expert witness). Here, Plaintiff's damages model does

not.

-      (Ex. 26, Tomlin, § VI) and Plaintiff's expe1ts will be subject to Rule 702 challenges, which

will mandate denial of class ce1tification. Emerson, 2022 WL 670131, at *3. Further, Plaintiff's

proposed "repair" methodology does not compoit with his theo1y ofliability because: (a) Plaintiff

testified it does not repair the 3-Pait Defect as the "two other factors ... make it dai1gerous" (supra

Facts§ D.5) mid (b) it does not eliminate the risk of ai1 inadve1tent discharge (id. § A.6). Thus, the

proposed "repair" does not "restore the damaged [product] to good, sound condition" under

Plaintiff's theo1y. See Lupo v. Shelter Mutual Ins. Co. , 70 S.W.3d 16, 22 (Mo. App. E.D. 2002).

IV. THE PROPOSED CLASS IS NOT ASCERTAINABLE NOR SUPERIOR.

        The Eighth Circuit "enforces through 'a rigorous analysis" the "asce1tainability"

requirement. McKeage v. TMBC, LLC, 847 F.3d 992, 998 (8th Cir. 2017). "[I]t 'is elementaiy that

... the class ... must be ... cleai·ly ascertainable." White, 2018 WL 3748405, at *3, n.1 (quoting

Sandusky Wellness Ch~ v. Medtox Sci., Inc., 821 F.3d 992, 996 (8th Cir. 2016)). In In re BPA, the

plaintiffs sought to ce1tify Missouri purchasers of baby bottles and "present[ed] nothing that proves

... retailers ha[d] the records to identify" them. 2011 WL 6740338, at *1, *8. The comt rejected

the proposal that a class member could "com[e] fo1ward" and "identify[] himself' because it "does

not prove a person is in the class." Id. at *8. And, in Dumas v. Albers Med. , Inc. , (Mot. 44), the

plaintiff sought to ceitify purchasers of "Lipitor that was sold or distributed by Albers." 2005 WL

2172030, at *6 (W.D. Mo. Sept. 7, 2005). Asce1tainability was lacking because "[i]dentifying the

members ... d[id] not involve merely the burdensome task oflooking this hrough files or databases

... ; no such records exist." Id. Likewise, in St. Louis Heart Center, Inc. v. Vein Centers for

Excellence, Inc. , asce1tainability was lacking because class members could only prove they were

class members "through individual testimony." 2017 WL 2861878, at *4 (E.D. Mo. July 5, 2017).


                                             43
       Case 6:22-cv-03095-MDH          Document 154         Filed 03/31/25       Page 52 of 54
       The same result is compelled here. The class is not ascertainable as Plaintiff has not offered

a way to identify class members, such as retail sales records. As Mr. Faulkner’s experience

illustrated, sales records may no longer exist and would not identify secondary sales. See supra

Facts § C.3. Plaintiff’s class notice expert proposed social media notice (id. § C.2), but that would

necessitate individual testimony to confirm class membership, which prevents certification here.

       Similarly, Plaintiff has not established superiority where he “simply seek[s] to consolidate

...claims with too many variables.” Johannessohn, 9 F.4th at 986. In BPA, superiority was not met

because the court had “major manageability concern[s],” including “how to determine who is in

the class.” 2011 WL 6740338, at *7-8. So too here. The same concerns about individual issues

arise here because there are “too many variables” to be manageable. Supra Facts §§ C.1-3.

V. THE PROPOSED CLASS CANNOT BE CERTIFIED UNDER RULE 23(C)(4).

       Issue certification “cannot be used to evade the predominance and cohesiveness

requirements.” In re NHL Players’ Concussion Inj. Litig., 327 F.R.D. 245, 266-67 (D. Minn. 2018);

Henke, 2014 WL 982777, at *22 (court “cannot manufacture predominance”). Plaintiff’s 23(c)(4)

argument (Mot. 45) repackages their predominance argument, which fails.

                                         CONCLUSION

       For the foregoing reasons, this Court should deny the Motion.




                                             44
     Case 6:22-cv-03095-MDH            Document 154        Filed 03/31/25      Page 53 of 54
Dated: March 31, 2025                            Respectfully submitted,

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                                        45
   Case 6:22-cv-03095-MDH         Document 154       Filed 03/31/25    Page 54 of 54
